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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

SECURITIES AND EXCHANGE
COMMISSION,

       Plaintiff,

v.                                                Civil Action File No.
                                                  1:18-cv-05868-LMM
JOSEPH A. MEYER, JR. and
STATIM HOLDINGS, INC.,

       Defendants.


  RECEIVER’S MOTION TO ALLOW AND PAY FEES AND EXPENSES
       TO THE RECEIVER (THIRD INTERIM APPLICATION)
                  WITH BRIEF IN SUPPORT

      Al Hill, the Receiver appointed in these proceedings (“Receiver”), files his

motion for payment of fees and expenses incurred in his duties as Receiver for the

period January 1, 2020 through March 31, 2020 (the “Application Period”).

      On July 9, 2019, this Court appointed the Receiver “for the purposes of

marshaling and preserving assets of Statim and the hedge fund that it controls, Arjun,

L.P. (‘Arjun’ or the ‘Fund’) and for obtaining independent representation for Statim

and the Fund.” [Doc. 71 at 1-2.]




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       During the Application Period, the Receiver, lawyers, and paralegals at the

office of Taylor English Duma LLP have performed services and incurred expenses

in furtherance of the Receiver’s duties under the Order as follows:

       (a)   Activities of Receiver                         $     22,985.56

       (b)   Counsel to Receiver                            $     12,480.52

       (c)   Assisting Receiver in Fulfillment Duties       $      7,456.00

             TOTAL:                                         $     42,922.08

       All of the foregoing work was under the category of Case Administration as

defined in the “Billing Instructions for Receivers in Civil Actions Commenced by the

U.S. Securities and Exchange Commission” (“Billing Instructions”). The Receiver is

attaching Statement numbers 569389, 569390, 569391, 574690, 574691, 574692,

582839, 582840, and 582841 from Taylor English Duma LLP, collectively Exhibit

A, which summarize the work of the Receiver and the attorneys and paralegals who

assisted the Receiver in the fulfillment of his duties during the Application Period.

The invoices reflect: (1) the date services were rendered; (2) identification of the

individual rendering the service; (3) description of the work; (4) hourly rate; (5)

monetary charge associated with the services performed; and (6) expenses incurred.




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       In addition, the Receiver retained, with Court approval [Doc. 83], the services

of Lightfoot Group, LLC for accounting work. During the period, Lightfoot Group

performed services and incurred expenses as follows:

       (a) Litigation Counseling                            $ 4,757.50

       (b) Accounting/Auditing                              $ 40,992.50

          TOTAL:                                            $ 45,750.00

       The invoice of Lightfoot Group is attached as Exhibit B, along with its

certification required by the Billing Instructions. The invoice reflects: (1) the date

services were rendered; (2) identification of the individual rendering the service; (3)

description of the work; (4) hourly rate; (5) monetary charge associated with the

services performed; and (6) expenses incurred.

       The Standardized Fund Accounting Reports (required by the Billing

Instructions) are attached as Exhibit C and provide a summary of the financial

condition of the receivership.

       During the Application Period, the Receiver (a) worked extensively with

Lightfoot Group to review investment and financial information pertaining to Statim

and the Fund and to prepare necessary financial reporting, (b) communicated with

Mr. Meyer and his counsel as needed, (c) communicated with investors and their

counsel, (d) worked with Lightfoot Group and Panoptic to deliver monthly statements

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and tax reporting information to investors, (e) searched and reviewed electronic

records in the database, (f) updated the receivership website to keep investors

informed, (g) prepared Proof of Claim forms and submitted a motion to the Court to

establish a claims process, and (h) reported to the Court as required. The Receiver

has not yet determined when the receivership is expected to close.

       Pursuant to the Billing Instructions, the undersigned certifies as follows:

             (a) the undersigned has read the Application;

             (b) to the best of the Applicant’s knowledge, information and

       belief formed after reasonable inquiry, the Application and all fees and

       expenses therein are true and accurate and comply with the Billing

       Instructions (with any exceptions specifically noted in the Certification

       and described in the Application);

             (c) all fees contained in the Application are based on the rates

       listed in the Applicant’s fee schedule attached hereto and such fees are

       reasonable, necessary and commensurate with the skill and experience

       required for the activity performed;

             (d) the Applicant has not included in the amount for which

       reimbursement is sought the amortization of the cost of any investment,

       equipment, or capital outlay (except to the extent that any such

                                            4
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      amortization is included within the permitted allowable amounts set

      forth herein for photocopies and facsimile transmission); and,

             (e) in seeking reimbursement for a service which the Applicant

      justifiably purchased or contracted for from a third party (such as

      copying, imaging, bulk mail, messenger service, overnight courier,

      computerized research, or title and lien searches), the Applicant

      requests reimbursement only for the amount billed to the Applicant by

      the third-party vendor and paid by the Applicant to such vendor. If such

      services are performed by the receiver, the receiver will certify that it

      is not making a profit on such reimbursable service.

      In addition, as required by the Court’s Order [Doc. 71 at 21], the undersigned

certifies that: (i) the fees and expenses included were incurred in the best interests

of the Receivership Estate; and, (ii) with the exception of the Billing Instructions,

the Receiver has not entered into any agreement, written or oral, express or implied,

with any person or entity concerning the amount of compensation paid or to be paid

from the Receivership Estate, or any sharing thereof.

      Finally, as the Court directed [Doc. 71 at 20], the Receiver supplied a draft of

this Application and all attachments to the SEC and counsel for Mr. Meyer on




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April 17, 2020. By e-mail on April 20, they responded that they had no objection to

the Application.

      The Receiver respectfully requests that the Court grant this interim application

for payment of fees in the amount of $42,922.08 to Taylor English Duma LLP and

$45,750.00 to Lightfoot Group, LLC. A proposed order is attached as Exhibit D.

      Respectfully submitted, this 20th day of April, 2020.


                                              /s/ William G. Leonard
                                              WILLIAM G. LEONARD
                                              Georgia Bar No. 446912
                                              bleonard@taylorenglish.com

                                              TAYLOR ENGLISH DUMA LLP
                                              1600 Parkwood Circle, Suite 200
                                              Atlanta, Georgia 30339
                                              Telephone: (770) 434-6868
                                              Facsimile: (404) 434-7376
                                              Attorneys for Receiver Al B. Hill




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                EXHIBIT A




                               7
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   US District Court - Northern District of Georgia                                  Statement Date: 02/06/2020
   c/o Al B. Hill                                                                        Account No.    76031.0
   1600 Parkwood Circle
   Suite 200
   Atlanta, GA 30339



                                                  Cover Statement

                                          STATEMENT           SUMMARY




                             Previous Balance                Fees       Expenses            Payments               Balance

76031-0000 Statim Holdings - Activities of Receiver
                                    21,453.88             5,161.25           0.00                0.00         $26,615.13

76031-0001 Statim Holdings - Counsel to Receiver
                                 20,522.56                4,978.00          50.00                0.00         $25,550.56

76031-0003
                   Statim Holdings - Assisting Receiver in
                   Fulfillment Duties
                                          0.00             2,555.00          0.00                0.00             $2,555.00

                                     41,976.44          12,694.25           50.00                0.00         $54,720.69




                                     Attorney-Client Privileged Communication

                           Please send payment within 15 days of receiving this invoice


                                 Please access our secure online payment portal at
                                         https://taylorenglishbilling.com.

                                   Payment questions: 678-336-7258 - Kim Zaring
                                   Billing questions: kzaring@taylorenglish.com
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         US District Court - Northern District of Georgia                        Statement Date:   February 6, 2020
         c/o Al B. Hill                                                            Statement No.            569389
         1600 Parkwood Circle                                                        Account No.       76031.0000
         Suite 200                                                                Federal ID No.        201310229
         Atlanta, GA 30339



         Re:   Statim Holdings - Activities of Receiver


                      PREVIOUS BALANCE BROUGHT FORWARD                                                         $21,453.88

                                                                                                       Hours
01/06/2020     ABH    Pay outstanding receivership invoices; telephone
                      conference with manager regarding money market fund for
                      short term investments.                                                           0.40          170.00

01/08/2020     ABH    Administration of bank accounts; arrange for new account
                      with Janney.                                                                      0.80          340.00

               DIR    File annual registration renewal with State of Georgia.                           0.25           48.75

               DIR    Maintain corporate records for client, including send of
                      year-end update on the activities and plans for Arjun,
                      LP to all shareholders                                                            0.50           97.50

01/09/2020     ABH    Complete paperwork to open Janney account; telephone
                      conference with IRA Services to investigate status of
                      loans against IRA accounts.                                                       0.50          212.50

01/10/2020     ABH    Continue paperwork to set up investment account with
                      Janney.                                                                           0.50          212.50

               ABH    Telephone conference with IRA Services to continue
                      inquiry regarding loans against IRA accounts;
                      correspondence with compliance department at IRA
                      Services.                                                                         0.40          170.00

01/14/2020     ABH    Investor correspondence regarding expected distribution
                      time.                                                                             0.20           85.00
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                                                                                            Statement Date:     02/06/2020
                                                                                            Statement No.       569389
        US District Court - Northern District of Georgi                                     Account No.       76031.0000

                                                                                                                     Hours

01/15/2020    ABH     Multiple telephone conferences with Recknagel investors
                      (0.8); research with Panoptic and AFA regarding Recknagel
                      accounts (0.8); telephone conference with S. Sadow (0.1);
                      telephone conference with Provident Trust and IRA
                      Services regarding treatment of loans for IRA accounts.                                         2.20        935.00

01/16/2020    ABH     Telephone conference with S. Kelly of Provident Trust
                      regarding loans against IRA accounts.                                                           0.50        212.50

01/17/2020    ABH     Review analysis of Recknagel account; correspondence with
                      B. Leonard regarding subpoena for Provident Trust.                                              0.40        170.00

01/20/2020    ABH     Review and respond to correspondence from S. Councill,
                      attorney for Mr. Majmudar and Ms. Meyer.                                                        0.70        297.50

01/21/2020    ABH     Draft Second Quarterly Report.                                                                  1.20        510.00

              ABH     Correspondence with BMO Harris concerning missing bank
                      statements.                                                                                     0.50        212.50

01/22/2020    ABH     Revise quarterly report for Q4 2019; send to J. Hart for
                      review (0.7); speak with Citizens Trust and Janney
                      Montgomery to arrange transfer of funds (0.6); telephone
                      conference with J. Hart to revise quarterly report (0.6).                                       1.90        807.50

01/24/2020    ABH     Investigate access to treasury bill accounts.                                                   0.20         85.00

              ABH     Revise proposed Claim Form.                                                                     0.50        212.50

01/27/2020    ABH     Telephone conference with J. Meyer regarding log on to
                      Treasury Direct.                                                                                0.20         85.00

01/31/2020    ABH     Confirm financial information in final quarterly report
                      for Q4 2019;                                                                                    0.70        297.50
                      FOR PROFESSIONAL SERVICES RENDERED                                                             12.55       5,161.25

                                                                     FEE SUMMARY
                Timekeeper                                                     Hours               Rate           Total
                Al Hill                                                        11.80            $425.00       $5,015.00
                Donna Roberts                                                    0.75            195.00          146.25


                      TOTAL CURRENT FEES AND COSTS                                                                               5,161.25


                      Balance Due.................................                                                           $26,615.13

                                                                 Aged Due Amounts
                           Stmt Date                 Stmt #                            Billed             Due
                           11/12/2019                554049                         4,335.00          4,335.00

                                                                                                                      Page   2
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                                                                         Statement Date:     02/06/2020
                                                                         Statement No.       569389
US District Court - Northern District of Georgi                          Account No.       76031.0000

                  12/11/2019            558871                   11,253.88         11,253.88
                  01/28/2020            564551                    5,865.00          5,865.00
                                                                                   21,453.88




                                    Attorney-Client Privileged Communication

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                               Please access our secure online payment portal at
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                                 Payment questions: 678-336-7258 - Kim Zaring
                                 Billing questions: kzaring@taylorenglish.com
                                                                                                   Page   3
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         US District Court - Northern District of Georgia                         Statement Date:   February 6, 2020
         c/o Al B. Hill                                                             Statement No.            569390
         1600 Parkwood Circle                                                         Account No.       76031.0001
         Suite 200                                                                 Federal ID No.        201310229
         Atlanta, GA 30339



         Re:   Statim Holdings - Counsel to Receiver


                      PREVIOUS BALANCE BROUGHT FORWARD                                                          $20,522.56

                                                                                                        Hours

01/06/2020     WGL Review multiple e-mails from Mr. Hill and Mr. Hart
                   regarding financial information needed by Panoptic                                    0.30          105.00

01/08/2020     SKT    Review notifications regarding website activity; messages
                      with A. Hill regarding same.                                                       0.40          140.00

01/15/2020     WGL Review e-mails from Mr. Hill and Mr. Hart regarding
                   customer account issues                                                               0.10           35.00

01/17/2020     WGL Review and respond to e-mails from Mr. Hill regarding
                   Provident Trust Group accounts and need for subpoena;
                   prepare subpoena and list of documents to be produced;
                   prepare e-mail to Mr. Hill regarding same; review e-mail
                   from Mr. Councill                                                                     0.80          280.00

01/20/2020     WGL Telephone call from Mr. Hill; review e-mail from Mr.
                   Councill and attached letter; review and revise e-mail by
                   Mr. Hill; review and respond to e-mail from Mr. Hill
                   regarding subpoena to Provident Trust                                                 0.50          175.00

01/21/2020     WGL Review and revise draft of second quarterly status report
                   and prepare e-mail to Mr. Hill regarding same (0.4);
                   revise document description for subpoena to Provident
                   Trust and revise subpoena (0.4); prepare notice of
                   serving subpoena (0.2); prepare e-mails to Ms. Jasik
                   regarding filing of same (0.1); telephone call from Ms.
                   Jasik regarding redactions from public filing (0.1);
                   prepare e-mail to Ms. Kelly at Provident Trust attaching
                   and explaining subpoena (0.2)                                                         1.40          490.00
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                                                                                 Statement Date:     02/06/2020
                                                                                 Statement No.       569390
        US District Court - Northern District of Georgi                          Account No.       76031.0001

                                                                                                          Hours

01/22/2020    LMW Download and forward Notice of Intent to Serve Subpoena,
                  received from court, for attorneys' review.                                              0.20         39.00

              WGL Multiple e-mails with Mr. Hart regarding his revisions to
                  second quarterly status report; multiple e-mails with Mr.
                  Hill regarding same; conference call with Mr. Hill and
                  Mr. Hart regarding same                                                                  0.50        175.00

01/23/2020    WGL Review e-mail from Mr. Hill regarding authority to move
                  funds into higher-yield investments and review court
                  orders pertaining to receivership (0.4); prepare e-mail
                  to Mr. Hill regarding same (0.1); review past e-mails
                  regarding statute of limitations and evaluate appropriate
                  recipients of proof of claim (0.5); review year-end 2013
                  report of investors (0.2); prepare e-mail to Mr. Hill
                  regarding limitations issue (0.3); prepare proof of claim
                  form (0.6); prepare e-mail to Mr. Hill regarding same
                  (0.1); review sequence and procedure followed in prior
                  receivership and consider possible approaches for Statim
                  receivership (0.5); prepare e-mail to Mr. Hill regarding
                  same (0.2)                                                                               2.90       1,015.00

01/24/2020    WGL Review Mr. Hill's revisions to proof-of-claim form;
                  prepare e-mails to Mr. Hill and Ms. Jasik regarding same;
                  prepare e-mail to Mr. Hill regarding procedure for
                  seeking approval for distribution plan; review SFAR form
                  and prepare e-mail to Mr. Hart regarding corrections                                     0.80        280.00

01/25/2020    SKT     Review and confirm annual registration summary regarding
                      domain for site.                                                                     0.50        175.00

01/28/2020    WGL Review and respond to e-mail from Ms. DeYoung regarding
                  production of documents by Ascensus pursuant to subpoena;
                  prepare e-mail to Mr. Hill regarding same and review
                  response                                                                                 0.20         70.00

01/29/2020    WGL Review and revise quarterly status report; conference
                  with Mr. Hill regarding distribution motion; review
                  letter from Ascensus enclosing documents subpoenaed from
                  Provident Trust Group; prepare e-mail to Mr. Hill
                  regarding same                                                                           0.80        280.00

01/30/2020    LMW Download and forward Leave of Absence of Steven H. Sadow,
                  received from court, for attorneys' review.                                              0.20         39.00

              WGL Prepare e-mail to Mr. Hill regarding completion of
                  receiver's second quarterly report                                                       0.10         35.00




                                                                                                           Page   2
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                                                                                            Statement Date:     02/06/2020
                                                                                            Statement No.       569390
        US District Court - Northern District of Georgi                                     Account No.       76031.0001

                                                                                                                     Hours

01/31/2020    WGL Review and revise second quarterly report (0.3); prepare
                  motion and brief to approve claims process (2.8);
                  telephone calls and e-mails with Mr. Hill regarding same
                  (0.3); review e-mails from Mr. Goldberg and evaluate
                  attached maturity dates of Fund investments (0.2);
                  research regarding statutes of limitations applicable to
                  federal and state claims (0.7); review and revise motion
                  and brief (0.4)                                                                                     4.70       1,645.00
                      FOR PROFESSIONAL SERVICES RENDERED                                                             14.40       4,978.00

                                                                     FEE SUMMARY
                Timekeeper                                                     Hours               Rate           Total
                William G. Leonard                                             13.10            $350.00       $4,585.00
                Seth K. Trimble                                                  0.90            350.00          315.00
                L. Mylane Wilson                                                 0.40            195.00           78.00


01/08/2020            Filing Fee paid to GA Secretary of State - annual
                      Registration - Arjun GA, LP / Ref # 19036307                                                                 50.00
                      TOTAL EXPENSES/COSTS ADVANCED                                                                                50.00

                      TOTAL CURRENT FEES AND COSTS                                                                               5,028.00


                      Balance Due.................................                                                           $25,550.56

                                                                 Aged Due Amounts
                           Stmt Date                 Stmt #                            Billed             Due
                           11/12/2019                554050                         5,410.50          5,410.50
                           12/11/2019                558872                         6,934.00          6,934.00
                           01/28/2020                564552                         8,178.06          8,178.06
                                                                                                     20,522.56




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                                             Payment questions: 678-336-7258 - Kim Zaring
                                             Billing questions: kzaring@taylorenglish.com
                                                                                                                      Page   3
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         US District Court - Northern District of Georgia                         Statement Date:   February 6, 2020
         c/o Al B. Hill                                                             Statement No.            569391
         1600 Parkwood Circle                                                         Account No.       76031.0003
         Suite 200                                                                 Federal ID No.        201310229
         Atlanta, GA 30339




      Statim Holdings - Assisting Receiver in
      Fulfillment Duties



                                                                                                        Hours
01/03/2020    BJG     Emails and telephone conferences w/ Arjun banks to obtain
                      December statements. Review account balances.                                      0.40          140.00

01/07/2020    BJG     Research Arjun's Treasury Account holdings. Meeting w/
                      A. Hill regarding same.                                                            0.50          175.00

01/08/2020    BJG     Research regarding Arjun's TreasuryDirect account.
                      Exchange multiple emails w/ J. Meyer to obtain account
                      access. Request December account statements.                                       1.00          350.00

01/10/2020    BJG     Emails and telephone conferences regarding BMO Harris and
                      TreasuryDirect account access. Review current account
                      balances.                                                                          0.50          175.00

01/21/2020    BJG     Research and telephone conferences w/ BMO Harris Bank to
                      establish online account access. Exchange emails w/ S.
                      Sadow (Meyer counsel) requesting assistance in
                      establishing online access to TreasuryDirect account.
                      Review and organize bank records files. Meeting w/ A.
                      Hill to discuss BMO Harris account access. Research and
                      repeated attempts to establish TreasuryDirect online
                      account access.                                                                    1.80          630.00

01/22/2020    BJG     Telephone conferences w/ BMO Harris Subpoena group and
                      Customer Service to obtain online access. Repeated
                      attempts to access TreasuryDirect account.                                         0.40          140.00

01/23/2020    BJG     Research and repeated attempts to set up BMO Harris Bank
                      online account. Meetings w/ A. Hill to discuss obtaining
                      account access. Exchange emails w/ J. Meyer regarding
                      online access to accounts.                                                         0.50          175.00
                    Case 1:18-cv-05868-LMM Document 110 Filed 04/20/20 Page 16 of 86
                                                                                        Statement Date:     02/06/2020
                                                                                        Statement No.       569391
        US District Court - Northern District of Georgi                                 Account No.       76031.0003

                                                                                                                 Hours

01/27/2020    BJG     Meeting w/ A. Hill to access to TreasuryDirect account.
                      Telephone conferences w/ A. Hill and J. Meyer to attempt
                      to access TreasuryDirect account. Draft email to
                      TreasuryDirect. Draft email to BMO Harris Legal
                      Department regarding account access.                                                        0.90         315.00

01/31/2020    BJG     Review Arjun and Statim accounts and prepare cash
                      analysis. Meeting w/ A. Hill to review analysis.                                            0.60         210.00

              BJG     Review email from TreasuryDirect regarding account
                      access. Draft email response to TreasuryDirect regarding
                      Receiver's authority to control account. Research CD
                      maturity dates. Update Assets spreadsheet.                                                  0.70         245.00
                      FOR PROFESSIONAL SERVICES RENDERED                                                          7.30        2,555.00

                                                                     FEE SUMMARY
                Timekeeper                                                     Hours         Rate             Total
                Bob J. Goldberg                                                  7.30     $350.00         $2,555.00


                      TOTAL CURRENT FEES AND COSTS                                                                            2,555.00


                      Balance Due.................................                                                           $2,555.00




                                                Attorney-Client Privileged Communication

                                   Please send payment within 15 days of receiving this invoice


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                                                   https://taylorenglishbilling.com.

                                             Payment questions: 678-336-7258 - Kim Zaring
                                             Billing questions: kzaring@taylorenglish.com
                                                                                                                  Page   2
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   US District Court - Northern District of Georgia                                  Statement Date: 03/09/2020
   c/o Al B. Hill                                                                        Account No.    76031.0
   1600 Parkwood Circle
   Suite 200
   Atlanta, GA 30339



                                                  Cover Statement

                                          STATEMENT         SUMMARY




                             Previous Balance               Fees        Expenses            Payments               Balance

76031-0000 Statim Holdings - Activities of Receiver
                                    26,615.13           3,782.50            50.00          -21,453.88             $8,993.75

76031-0001 Statim Holdings - Counsel to Receiver
                                 25,550.56              4,317.00            21.50          -20,522.56             $9,366.50

76031-0003
                   Statim Holdings - Assisting Receiver in
                   Fulfillment Duties
                                      2,555.00             268.50            0.00                0.00             $2,823.50

                                     54,720.69          8,368.00            71.50          -41,976.44         $21,183.75




                                     Attorney-Client Privileged Communication

                           Please send payment within 15 days of receiving this invoice


                                 Please access our secure online payment portal at
                                         https://taylorenglishbilling.com.

                                   Payment questions: 678-336-7258 - Kim Zaring
                                   Billing questions: kzaring@taylorenglish.com
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         US District Court - Northern District of Georgia                         Statement Date:   March 9, 2020
         c/o Al B. Hill                                                             Statement No.         574690
         1600 Parkwood Circle                                                         Account No.    76031.0000
         Suite 200                                                                 Federal ID No.     201310229
         Atlanta, GA 30339



         Re:   Statim Holdings - Activities of Receiver


                      PREVIOUS BALANCE BROUGHT FORWARD                                                        $26,615.13

                                                                                                     Hours
02/01/2020     ABH    Investigate records included in subpoena response from
                      Provident Trust; no evidence of recording loans against
                      IRA on Provident records.                                                        0.90         382.50

02/03/2020     ABH    Revise motion for approval of claims process (1.2);
                      review research from Provident Trust on IRA/401K accounts
                      and loans against those accounts (.7); telephone
                      conference with investor regarding distribution plans
                      (0.3).                                                                           2.20         935.00

02/06/2020     ABH    Draft and post update to website regarding filing of
                      claims motion.                                                                   0.20          85.00

02/10/2020     ABH    Correspondence from Mr. McCarthy; review his account
                      records; telephone conference with Janney Montgomery.                            0.80         340.00

               ABH    Telephone conference with Mr. McCarthy to investigate his
                      claim regarding past distributions; summarize
                      conversation to J. Hart so he may investigate.                                   1.00         425.00

02/12/2020     ABH    Telephone conference with T. Roberts and her advisor
                      regarding movement of funds between IRA and non-IRA
                      accounts.                                                                        0.70         297.50

02/13/2020     ABH    Review Bifurcated Judgment between SEC and J. Meyer;
                      draft update to website; review OPUS data drive; brief
                      meeting with J. Hart.                                                            0.90         382.50

02/24/2020     ABH    Review investigation of J. McCarthy account; telephone
                      conference with Mr. McCarthy.                                                    0.60         255.00

02/25/2020     ABH    Telephone conference with M. Hamblin.                                            0.20          85.00
                    Case 1:18-cv-05868-LMM Document 110 Filed 04/20/20 Page 19 of 86
                                                                                            Statement Date:     03/09/2020
                                                                                            Statement No.       574690
        US District Court - Northern District of Georgi                                     Account No.       76031.0000

                                                                                                                     Hours

02/26/2020    ABH     Review and approve motion to approve claim form; respond
                      to inquiries concerning missing account statements.                                             0.60         255.00

02/27/2020    ABH     Telephone conference with D. Nelson.                                                            0.10          42.50

02/28/2020    ABH     Telephone conference with D. Nelson regarding T. Roberts
                      account; review D. Nelson summary; telephone conference
                      with J. Recknagel.                                                                              0.70         297.50
                      FOR PROFESSIONAL SERVICES RENDERED                                                              8.90        3,782.50

                                                                     FEE SUMMARY
                Timekeeper                                                     Hours               Rate           Total
                Al Hill                                                          8.90           $425.00       $3,782.50


02/24/2020            Filing Fee paid to GA Secretary of State - Annual
                      Registration - Statim Holdings, LLC / Ref # 0021888
                      (01/28/2020)                                                                                                  50.00
                      TOTAL EXPENSES/COSTS ADVANCED                                                                                 50.00

                      TOTAL CURRENT FEES AND COSTS                                                                                3,832.50

03/09/2020            Payment. Thank you. Check No. 995022 - US District (Al
                      Hill)                                                                                                      -4,335.00
03/09/2020            Payment. Thank you. Check No. 995022 - US District (Al
                      Hill)                                                                                                  -11,253.88
03/09/2020            Payment. Thank you. Check No. 995022 - US District (Al
                      Hill)                                                                                                      -5,865.00
                      Total Payments                                                                                         -21,453.88

                      Balance Due.................................                                                               $8,993.75

                                                                 Aged Due Amounts
                           Stmt Date                 Stmt #                            Billed             Due
                           02/06/2020                569389                         5,161.25          5,161.25
                                                                                                      5,161.25




                                                Attorney-Client Privileged Communication

                                   Please send payment within 15 days of receiving this invoice


                                           Please access our secure online payment portal at
                                                   https://taylorenglishbilling.com.

                                             Payment questions: 678-336-7258 - Kim Zaring
                                             Billing questions: kzaring@taylorenglish.com
                                                                                                                      Page   2
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         US District Court - Northern District of Georgia                      Statement Date:   March 9, 2020
         c/o Al B. Hill                                                          Statement No.         574691
         1600 Parkwood Circle                                                      Account No.    76031.0001
         Suite 200                                                              Federal ID No.     201310229
         Atlanta, GA 30339



         Re:   Statim Holdings - Counsel to Receiver


                      PREVIOUS BALANCE BROUGHT FORWARD                                                     $25,550.56

                                                                                                  Hours
02/04/2020     WGL Multiple e-mails with Mr. Goldberg and Ms. Jasik
                   regarding certified copy of appointment order; review
                   e-mails from Treasury Direct regarding same                                      0.40         140.00

02/05/2020     LMW Prepare Receiver's Motion to Approve Claims Process with
                   Brief in Support, received from court, for attorneys'
                   review.                                                                          0.20          39.00

               WGL Final review and revision of motion to approve claims
                   procedure; multiple e-mails with Mr. Hill regarding same;
                   prepare e-mail to Ms. Jasik regarding filing of motion
                   and exhibit                                                                      0.50         175.00

02/06/2020     WGL Review e-mail from Mr. Hill and revise entry for website
                   regarding filing of motion to approve claims process;
                   review and respond to e-mail from Mr. Trimble regarding
                   same                                                                             0.20          70.00

               SKT    Messages with A. Hill and B. Leonard regarding site
                      update relating to Motion to Approve Claims process;
                      updates site to address same.                                                 1.20         420.00

02/10/2020     WGL Review e-mails from Mr. Hart and Mr. Hill                                        0.20          70.00

               SKT    Messages with A. Hill and B. Leonard regarding site
                      update.                                                                       0.30         105.00

02/12/2020     WGL Multiple e-mails with Mr. Goldberg regarding TPA
                   insistence on certified copy of order appointing
                   receiver; multiple e-mails with Mr. Hart and Mr. Hill
                   regarding Terri Roberts accounts; prepare e-mail to Ms.
                   Jasik regarding search of database                                               0.50         175.00
                    Case 1:18-cv-05868-LMM Document 110 Filed 04/20/20 Page 21 of 86
                                                                                  Statement Date:     03/09/2020
                                                                                  Statement No.       574691
        US District Court - Northern District of Georgi                           Account No.       76031.0001

                                                                                                           Hours

02/13/2020    LW      Review Relativity database for certain documents
                      pertaining to Terri Roberts.                                                          1.00       195.00

              WGL Multiple e-mails with Ms. Wilkerson regarding search of
                  database for Terri Roberts account information; multiple
                  e-mails with Mr. Hill regarding same; review bifurcated
                  SEC judgment against Mr. Meyer and prepare e-mail to Mr.
                  Hill regarding same; conference with Mr. Hill regarding
                  flash drive obtained from Opus; review Mr. Hill's e-mail
                  to Mr. Hart regarding same                                                                0.80       280.00

              SKT     Review message from A. Hill regarding bifurcated judgment
                      and need for update on site regarding same.                                           0.30       105.00

02/14/2020    LW      Review Relativity database for certain documents
                      pertaining to Terri Roberts.                                                          2.20       429.00

02/17/2020    LW      Review Relativity database for certain documents
                      pertaining to Terri Roberts.                                                          2.80       546.00

              WGL Review certified copy of order appointing receiver;
                  conference with Mr. Goldberg regarding same                                               0.20        70.00

02/18/2020    LW      Review Relativity database for certain documents
                      pertaining to Terri Roberts.                                                          1.00       195.00

              WGL Review and revise entry for website pertaining to
                  bifurcated judgment against Mr. Meyer                                                     0.10        35.00

              SKT     Messages with B. Leonard regarding website update
                      relating to bifurcated judgment.                                                      0.20        70.00

02/20/2020    WGL Review and respond to e-mails from Mr. Hart regarding fee
                  and expense accruals for January; review invoices;
                  prepare e-mail to Mr. Hart and Mr. Lambert regarding same                                 0.20        70.00

02/21/2020    LMW Prepare Leave of Absence of Steven Sadow, received from
                  court, for attorneys' review.                                                             0.20        39.00

              WGL Review e-mail from Ms. Wilkerson regarding database
                  searches                                                                                  0.10        35.00

              SKT     Edit site to address new post regarding bifurcated
                      judgment and upload related documents to same; follow-up
                      messages regarding same.                                                              1.00       350.00




                                                                                                            Page   2
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                                                                                            Statement Date:     03/09/2020
                                                                                            Statement No.       574691
        US District Court - Northern District of Georgi                                     Account No.       76031.0001

                                                                                                                     Hours

02/26/2020    WGL Review e-mail from Ms. Bachelor (judge's courtroom
                  deputy) regarding preparation of scheduling order and
                  explanation of language included in proof-of-claim form
                  (0.1); prepare e-mail to Mr. Hill regarding
                  proof-of-claim form and review response (0.2); prepare
                  proposed order and circulate to Mr. Hill, SEC attorneys,
                  and Mr. Sadow (0.6); prepare e-mail to Ms. Bachelor
                  regarding questioned language in proof-of-claim form
                  (0.2); review comments from other counsel regarding same
                  (0.2); revise language and discuss with Mr. Hill; prepare
                  e-mails to other counsel and Ms. Bachelor regarding same
                  (0.2).                                                                                              1.70         595.00

02/27/2020    LMW Prepare Order granting Receiver's Motion to Approve
                  Claims Process, received from court, for attorneys'
                  review.                                                                                             0.20          39.00

02/28/2020    WGL Review and respond to e-mails from Mr. Hill regarding
                  delivery of proof-of-claim forms to investors                                                       0.20          70.00
                      FOR PROFESSIONAL SERVICES RENDERED                                                             15.70        4,317.00

                                                                     FEE SUMMARY
                Timekeeper                                                     Hours               Rate           Total
                William G. Leonard                                               5.10           $350.00       $1,785.00
                Seth K. Trimble                                                  3.00            350.00        1,050.00
                L. Mylane Wilson                                                 0.60            195.00          117.00
                Lisa Wilkerson                                                   7.00            195.00        1,365.00


02/04/2020            Certified Copies of Order paid to Clerk, US District Court /
                      check # 27026                                                                                                 21.50
                      TOTAL EXPENSES/COSTS ADVANCED                                                                                 21.50

                      TOTAL CURRENT FEES AND COSTS                                                                                4,338.50

03/09/2020            Payment. Thank you. Check No. 995022 - US District (Al
                      Hill)                                                                                                      -5,410.50
03/09/2020            Payment. Thank you. Check No. 995022 - US District (Al
                      Hill)                                                                                                      -6,934.00
03/09/2020            Payment. Thank you. Check No. 995022 - US District (Al
                      Hill)                                                                                                      -8,178.06
                      Total Payments                                                                                         -20,522.56

                      Balance Due.................................                                                               $9,366.50

                                                                 Aged Due Amounts
                           Stmt Date                 Stmt #                            Billed             Due
                           02/06/2020                569390                         5,028.00          5,028.00
                                                                                                      5,028.00

                                                                                                                      Page   3
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                                                                         Statement Date:     03/09/2020
                                                                         Statement No.       574691
US District Court - Northern District of Georgi                          Account No.       76031.0001




                                    Attorney-Client Privileged Communication

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                                 Payment questions: 678-336-7258 - Kim Zaring
                                 Billing questions: kzaring@taylorenglish.com
                                                                                                   Page   4
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         US District Court - Northern District of Georgia                                       Statement Date:       March 9, 2020
         c/o Al B. Hill                                                                           Statement No.             574692
         1600 Parkwood Circle                                                                       Account No.        76031.0003
         Suite 200                                                                               Federal ID No.         201310229
         Atlanta, GA 30339




      Statim Holdings - Assisting Receiver in
      Fulfillment Duties



                      PREVIOUS BALANCE BROUGHT FORWARD                                                                           $2,555.00

                                                                                                                        Hours
02/04/2020    BJG     Exchange emails w/ TreasuryDirect representative
                      regarding Arjun account access. Exchange emails w/ B.
                      Leonard to obtain sealed copies of court orders to comply
                      with TreasuryDirect requests for account access.                                                   0.40         140.00

02/10/2020    BJG     Review email from S. Graham (investor). Draft email
                      reply to S. Graham regarding recent developments.                                                  0.20          70.00

02/28/2020    BJ      Calendar deadlines per Court's February 27th Order.                                                0.30          58.50
                      FOR PROFESSIONAL SERVICES RENDERED                                                                 0.90         268.50

                                                                     FEE SUMMARY
                Timekeeper                                                     Hours                Rate             Total
                Bob J. Goldberg                                                  0.60            $350.00           $210.00
                Brandy Jones                                                     0.30             195.00             58.50


                      TOTAL CURRENT FEES AND COSTS                                                                                    268.50


                      Balance Due.................................                                                               $2,823.50

                                                                 Aged Due Amounts
                           Stmt Date                 Stmt #                            Billed               Due
                           02/06/2020                569391                         2,555.00            2,555.00
                                                                                                        2,555.00
            Case 1:18-cv-05868-LMM Document 110 Filed 04/20/20 Page 25 of 86
                                                                         Statement Date:     03/09/2020
                                                                         Statement No.       574692
US District Court - Northern District of Georgi                          Account No.       76031.0003




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                                 Payment questions: 678-336-7258 - Kim Zaring
                                 Billing questions: kzaring@taylorenglish.com
                                                                                                   Page   2
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         US District Court - Northern District of Georgia                                 Statement Date:   April 17, 2020
         c/o Al B. Hill                                                                     Statement No.          582839
         1600 Parkwood Circle                                                                 Account No.    76031.0000
         Suite 200                                                                         Federal ID No.     201310229
         Atlanta, GA 30339



         Re:   Statim Holdings - Activities of Receiver


                      PREVIOUS BALANCE BROUGHT FORWARD                                                                 $8,993.75

                                                                                                             Hours
03/02/2020     ABH    Investor correspondence with M. Cahalan.                                                0.10            42.50

               ABH    Work with database to identify past investors with potential claims since
                      January 1, 2014.                                                                         2.80      1,190.00

03/03/2020     ABH    Review proposed claim form and continue to develop mailing list of potential
                      claimants; telephone conference with J. Hart to review process for claims
                      mailings; work with E. Tomilson to develop client folders for claims process.            1.90          807.50

03/04/2020     ABH    Review and process statements to be sent with claim forms; draft letter to
                      accompany claim forms for current investors.                                             2.80      1,190.00

03/05/2020     ABH    Draft and revise remaining claim letters for past investors and those with early
                      redemption penalties; continue to organize claim form mailing.                           1.80          765.00

03/06/2020     ABH    Multiple telephone conferences with J. Hart to determine investors with early
                      termination penalties; continue to organize claim form distribution.                     4.70      1,997.50

03/08/2020     ABH    Review all files for distribution of proof of claim forms; reconcile missing
                      information and statement balances.                                                      2.60      1,105.00

03/09/2020     ABH    Continue preparing investor mailing of proof of claim forms; draft claim letters
                      for Statim equityholders; telephone conference with numerous investors
                      regarding claims process.                                                                3.50      1,487.50

               ABH    Investigate Bermudez claim; telephone conference with Mr. Bermudez.                      0.40          170.00

03/10/2020     ABH    Finalize signatures to send claim letters; e-mail to special issue investors;
                      telephone conference with multiple investors and their attorneys.                        1.70          722.50

03/11/2020     ABH    Review mailing to L. Skandalakis; review e-mail from F. Mainardi.                        0.30          127.50
                    Case 1:18-cv-05868-LMM Document 110 Filed 04/20/20 Page 27 of 86
                                                                                    Statement Date:       04/17/2020
                                                                                    Statement No.         582839
        US District Court - Northern District of Georgi                             Account No.         76031.0000

                                                                                                               Hours

03/12/2020    ABH     Continue sending claim forms to final investors.                                          0.30         127.50

03/13/2020    ABH     Begin drafting summary of received claims.                                                0.40         170.00

03/16/2020    ABH     Telephone conferences with several investors regarding claims forms;
                      continue to manage claims process; telephone conference with J. Havriluk;
                      review details of Havriluk account.                                                       2.10         892.50

03/17/2020    ABH     Telephone conference with B. Harrison; telephone conference with J. Havriluk;
                      telephone conference with J.Hart; review claims of investors who called today;
                      telephone conference with L. Skandalakis.                                                 2.90        1,232.50

03/18/2020    ABH     Coordinate review of proof of claim forms with E. Tomilson; e-mails with Rubio
                      and Hart to review tax planning.                                                          0.50         212.50

              ABH     Telephone conference with D. Recknagel to walk through his account
                      statements.                                                                               0.60         255.00

03/19/2020    ABH     Telephone conference with V. Bahl regarding proof of claim forms; telephone
                      conference with D. Recknagel.                                                             0.60         255.00

              ABH     Telephone conference with J. Hart; conference call with Rubio CPA to plan for
                      year end tax filings.                                                                     0.80         340.00

              ABH     Telephone conference with K. McKane of Janney to review account status.                   0.50         212.50

03/22/2020    ABH     Review and send current Citizens Trust account statement to Panoptic; review
                      updated reconciliation of Roberts investment accounts.                                    0.60         255.00

03/23/2020    ABH     Address questions from G. Ibrahim.                                                        0.20          85.00

              ET      File Amendment changing only the Registered Agent of Arjun, L.P.                          0.20          39.00

03/24/2020    ABH     Correspondence with G. Ibrahim regarding multiple accounts.                               0.30         127.50

03/30/2020    ABH     Correspondence with investors regarding proof of claim form; telephone
                      conference with B. Barber                                                                 0.40         170.00
                      FOR PROFESSIONAL SERVICES RENDERED                                                       33.00       13,979.00

                                                          FEE SUMMARY
                Timekeeper                                          Hours                 Rate              Total
                Al Hill                                             32.80              $425.00         $13,940.00
                Elaine Tomilson                                       0.20              195.00              39.00


03/10/2020            Federal Express - invoice # 6-951-94514                                                                 12.81
                      TOTAL EXPENSES/COSTS ADVANCED                                                                           12.81

                      TOTAL CURRENT FEES AND COSTS                                                                         13,991.81


                                                                                                                Page   2
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                                                                                    Statement Date:     04/17/2020
                                                                                    Statement No.       582839
US District Court - Northern District of Georgi                                     Account No.       76031.0000

              Balance Due.................................                                                           $22,985.56

                                                         Aged Due Amounts
                   Stmt Date                 Stmt #                            Billed             Due
                   02/06/2020                569389                         5,161.25          5,161.25
                   03/09/2020                574690                         3,832.50          3,832.50
                                                                                              8,993.75




                                        Attorney-Client Privileged Communication

                           Please send payment within 15 days of receiving this invoice

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                                     Payment questions: 678-336-7258 - Kim Zaring
                                     Billing questions: kzaring@taylorenglish.com
                                                                                                              Page   3
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         US District Court - Northern District of Georgia                              Statement Date:   April 17, 2020
         c/o Al B. Hill                                                                  Statement No.          582840
         1600 Parkwood Circle                                                              Account No.    76031.0001
         Suite 200                                                                      Federal ID No.     201310229
         Atlanta, GA 30339



         Re:   Statim Holdings - Counsel to Receiver


                      PREVIOUS BALANCE BROUGHT FORWARD                                                              $9,366.50

                                                                                                          Hours

03/03/2020     WGL Review e-mails from Mr. Hill and Mr. Hart and attached list of investors who
                   withdrew from the Fund in recent years; review e-mail from Mr. Hart and
                   attachments regarding review of Opus records                                             0.30          105.00

03/06/2020     SKT    Messages with B. Leonard and A. Hill regarding claims process.                        0.40          140.00

               WGL Prepare e-mail to paralegals regarding revision of proof-of-claim form; review
                   revised document and prepare e-mail to Mr. Hill regarding same; review and
                   revise three cover letter templates to be sent to investors; prepare e-mail to
                   Mr. Hill regarding same; prepare e-mail to Mr. Trimble regarding addition to
                   website regarding order approving claims process                                         1.00          350.00

03/09/2020     SKT    Update website to include new information about Court approved claims
                      process proposed by the Receiver and related deadlines Proof-of-Claim
                      forms; revise website to allow users to download related Proof-of-Claim forms;
                      messages and call with A. Hill regarding same.                                        1.30          455.00

               WGL Review e-mail from Mr. Hill regarding proof of claim procedure for equity
                   owners of Statim (0.1); consider options and prepare response to Mr. Hill and
                   Mr. Hart, and review e-mails from Mr. Hart regarding same (0.2); review e-mail
                   from Ms. Wilkerson regarding partially completed database search and review
                   search results on paper and saved search in database (0.8); conference with
                   Mr. Hill regarding same (0.1); review voice mail message from attorney
                   representing investor and forward to Mr. Hill (0.1)                                      1.30          455.00

03/11/2020     WGL Review and respond to e-mail from Mr. Hill regarding search of database for
                   contact information for investors who withdrew from Arjun; multiple e-mails
                   with Ms. Jasik and Mr. Hill regarding same; review e-mails from Ms. Pottle and
                   Ms. Wilkerson regarding shortcoming in Relativity database                               0.70          245.00

03/12/2020     ET     Prepare Registered Agent form for change of Registered Agent.                         0.20           39.00
                    Case 1:18-cv-05868-LMM Document 110 Filed 04/20/20 Page 30 of 86
                                                                                            Statement Date:     04/17/2020
                                                                                            Statement No.       582840
        US District Court - Northern District of Georgi                                     Account No.       76031.0001

                                                                                                                     Hours

03/24/2020    LMW Download and Circulate Order re Coronavirus, received from court, for
                  attorneys' review.                                                                                  0.20         39.00

03/25/2020    WGL Review and respond to e-mail from Mr. Pringle regarding accrual information
                  needed for monthly financial statement; review e-mail from Mr. Pringle
                  regarding amount owed by BMO Harris Bank; review e-mails from Mr.
                  Lambert and Mr. Hart regarding monthly financials                                                   0.40        140.00

03/30/2020    WGL Review multiple e-mails from Mr. Hart, Mr. Hill, and Mr. Rubio; review past
                  e-mails regarding payment of Sadow attorney retainer; prepare e-mail to Mr.
                  Hill regarding same and review response                                                             0.30        105.00
                      FOR PROFESSIONAL SERVICES RENDERED                                                              6.10       2,073.00

                                                                     FEE SUMMARY
                Timekeeper                                                     Hours               Rate           Total
                William G. Leonard                                               4.00           $350.00       $1,400.00
                Seth K. Trimble                                                  1.70            350.00          595.00
                L. Mylane Wilson                                                 0.20            195.00           39.00
                Elaine Tomilson                                                  0.20            195.00           39.00


03/24/2020            Fee paid to Ricoh - invoice # ATL20030040 - user fees and web hosting February                              520.51
03/26/2020            Fee paid to Ricoh - invoice # ATL20030058 - user fees and web hosting March                                 520.51
                      TOTAL EXPENSES/COSTS ADVANCED                                                                              1,041.02

                      TOTAL CURRENT FEES AND COSTS                                                                               3,114.02


                      Balance Due.................................                                                           $12,480.52

                                                                 Aged Due Amounts
                           Stmt Date                 Stmt #                            Billed             Due
                           02/06/2020                569390                         5,028.00          5,028.00
                           03/09/2020                574691                         4,338.50          4,338.50
                                                                                                      9,366.50




                                                Attorney-Client Privileged Communication

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                                             Payment questions: 678-336-7258 - Kim Zaring
                                             Billing questions: kzaring@taylorenglish.com
                                                                                                                      Page   2
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         US District Court - Northern District of Georgia                              Statement Date:   April 17, 2020
         c/o Al B. Hill                                                                  Statement No.          582841
         1600 Parkwood Circle                                                              Account No.    76031.0003
         Suite 200                                                                      Federal ID No.     201310229
         Atlanta, GA 30339




      Statim Holdings - Assisting Receiver in
      Fulfillment Duties



                      PREVIOUS BALANCE BROUGHT FORWARD                                                              $2,823.50

                                                                                                          Hours
03/03/2020    BJG     Obtain online account statements. Exchange emails w/ BMO Harris Bank and
                      Delta Community regarding account statements.                                         0.50          175.00

              ET      Download and print statements for current investors; prepare files for current
                      and inactive investors.                                                               6.90      1,345.50

03/04/2020    BJG     Exchange emails w/ Harris BMO and Delta Community regarding account
                      statements.                                                                           0.40          140.00

03/11/2020    ET      Respond to Mainardi email response to claims letter; email claims letters to
                      Skandalakis.                                                                          0.20           39.00

              BCJ     Conduct research in the Relativity database for investor contact information          1.30          253.50

03/12/2020    BCJ     Conduct additional research to find investor contact information in the
                      Relativity database                                                                   0.50           97.50

03/16/2020    ET      Begin preparation of spreadsheet to keep track of Proof of Claim responses.           0.90          175.50

03/18/2020    ET      Continue preparation of spreadsheet for tracking responses to Arjun Proof of
                      Claim forms.                                                                          3.70          721.50

03/19/2020    BJG     Telephone conference w/ A. Hill and Rubio CPAs regarding Arjun/Statim
                      accounts and materials for preparation of tax returns. Draft emails to banks
                      requesting account statements and 1099s.                                              0.50          175.00

03/20/2020    BJG     Exchange emails w/ BMO Bank legal department regarding account
                      statements and 1099. Exchange emails w/ Donna Lim (First IC) regarding
                      account statements and 1099,                                                          0.40          140.00
                    Case 1:18-cv-05868-LMM Document 110 Filed 04/20/20 Page 32 of 86
                                                                                            Statement Date:     04/17/2020
                                                                                            Statement No.       582841
        US District Court - Northern District of Georgi                                     Account No.       76031.0003

                                                                                                                     Hours

              ET      Revise spreadsheet; save Proof of Claim forms received.                                         0.20          39.00

03/23/2020    BJG     Exchange emails w/ TreasuryDirect regarding control of Arjun account.
                      Lengthy telephone conferences w/ TreasuryDirect customer service regarding
                      Arjun account control.                                                                          0.50         175.00

03/24/2020    BJG     Exchange emails w/ TreasuryDirect regarding Arjun 1099 and account control.
                      Exchange emails w/ A. Hill, M. Rubio and J. Hart regarding Arjun 1099s.                         0.30         105.00

03/26/2020    BJG     Review email from J. Hart regarding BMO account balances and interest
                      payments. Draft email to J. Aldort regarding account balances and interest
                      payments.                                                                                       0.50         175.00

03/30/2020    BJG     Telephone conference w/ L. Martin (Treasury Services Legal Department)
                      regarding Arjun account status, online access, holdings, interest and
                      statements. Review 1099 regarding interest payments.                                            0.70         245.00

              ET      Save Proof of Claim form responses received via mail from clients.                              1.10         214.50

              PBJ     Conference with Al Hill regarding Proofs of Claim; emails and call with Elaine
                      Tomilson regarding same, forward received packages along with returned
                      envelopes.                                                                                      0.70         136.50

03/31/2020    BJG     Telephone conference w/ J. Aldort (BMO) regarding Arjun accounts.
                      Research BMO account history, transactions and interest calculations.                           0.80         280.00
                      FOR PROFESSIONAL SERVICES RENDERED                                                             20.10        4,632.50

                                                                     FEE SUMMARY
                Timekeeper                                                     Hours               Rate           Total
                Bob J. Goldberg                                                  4.60           $350.00       $1,610.00
                Bonnie Jasik                                                     1.80            195.00          351.00
                Pam B. Jones                                                     0.70            195.00          136.50
                Elaine Tomilson                                                13.00             195.00        2,535.00


                      TOTAL CURRENT FEES AND COSTS                                                                                4,632.50


                      Balance Due.................................                                                               $7,456.00

                                                                 Aged Due Amounts
                           Stmt Date                 Stmt #                            Billed             Due
                           02/06/2020                569391                         2,555.00          2,555.00
                           03/09/2020                574692                           268.50            268.50
                                                                                                      2,823.50




                                                                                                                      Page   2
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                                                                         Statement Date:     04/17/2020
                                                                         Statement No.       582841
US District Court - Northern District of Georgi                          Account No.       76031.0003




                                    Attorney-Client Privileged Communication

                         Please send payment within 15 days of receiving this invoice

                               Please access our secure online payment portal at
                                       https://taylorenglishbilling.com.

                                 Payment questions: 678-336-7258 - Kim Zaring
                                 Billing questions: kzaring@taylorenglish.com
                                                                                                   Page   3
              Case 1:18-cv-05868-LMM Document 110 Filed 04/20/20 Page 34 of 86
   US District Court - Northern District of Georgia                                  Statement Date: 04/17/2020
   c/o Al B. Hill                                                                        Account No.    76031.0
   1600 Parkwood Circle
   Suite 200
   Atlanta, GA 30339



                                                  Cover Statement

                                          STATEMENT           SUMMARY




                             Previous Balance                Fees       Expenses            Payments               Balance

76031-0000 Statim Holdings - Activities of Receiver
                                      8,993.75          13,979.00           12.81                0.00         $22,985.56

76031-0001 Statim Holdings - Counsel to Receiver
                                  9,366.50                2,073.00       1,041.02                0.00         $12,480.52

76031-0003
                   Statim Holdings - Assisting Receiver in
                   Fulfillment Duties
                                      2,823.50             4,632.50          0.00                0.00             $7,456.00

                                     21,183.75          20,684.50        1,053.83                0.00         $42,922.08




                                     Attorney-Client Privileged Communication

                           Please send payment within 15 days of receiving this invoice

                                 Please access our secure online payment portal at
                                         https://taylorenglishbilling.com.

                                   Payment questions: 678-336-7258 - Kim Zaring
                                   Billing questions: kzaring@taylorenglish.com
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                EXHIBIT B




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                      Lightfoot Group, LLC
                    1862 Independence Sq., Suite B
                        Atlanta, Georgia 30338
                     Telephone No.: 678-320-0079

     Receivership: SEC v. Joseph A. Meyer, Jr. CVN: 1:18-cv-05868

     BILLING WORK CODE SUMMARY- CURRENT BILLING
                  (January - March 2020)

         LITIGATION CONSULTING

                   Professional          Hours               Billed
                   J Hart                   -                    $0.00


AA       ACCOUNTING/AUDITING

                  Professional           Hours               Billed
         Jan - 20 J Hart                  12.50             $3,437.50
         Feb - 20 J Hart                  15.70             $4,317.50
         Mar - 20 J Hart                  23.80             $6,545.00
                  Totals                  52.00            $14,300.00
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                      Lightfoot Group, LLC
                    1862 Independence Sq., Suite B
                        Atlanta, Georgia 30338
                     Telephone No.: 678-320-0079

     Receivership: SEC v. Joseph A. Meyer, Jr. CVN: 1:18-cv-05868

        BILLING WORK CODE SUMMARY- CUMULATIVE
                  (July 2019 - March 2020)

LC       LITIGATION CONSULTING

                   Professional          Hours               Billed
                   J Hart                 17.30             $4,757.50


AA       ACCOUNTING/AUDITING

                   Professional          Hours               Billed
                   J Hart                146.50            $40,287.50
                   P Graham                4.70               $705.00
                   Totals                168.50            $45,750.00
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                                   Lightfoot Group, LLC
                             1862 Independence Sq., Suite B
                                 Atlanta, Georgia 30338
                              Telephone No.: 678-320-0079
Professional Time Summary - Receivership: SEC v. Joseph A. Meyer, Jr. CVN: 1:18-cv-05868

 Date         Hours      Prof'l                             Description

01/02/20          1.70   J Hart [Accounting/Auditing] Prepared Draft SFAR for November 2019.
01/06/20          0.40   J Hart [Accounting/Auditing] Email fm A Hill re Dec 2019 Citizens Trust
                                payments & deposit activity with explanations (payee, purpose).
                                Requested & received permission to forward info to M Pringle;
                                forwared. JH email to A Hill re month end brokerage statements for
                                treasuries. [.40].
01/15/20          4.50   J Hart [Accounting/Auditing] Received email fm A Hill requesting review
                                of investor Recknagel IRA account balance and loan amount; also
                                wife's IRA account balance. Attachment from Provident Trust, IRA
                                service provider for Recknagels. Reviewed Recknagel statements
                                provided, Panoptic PC sheets for 2016-2019 time period involved,
                                & Panoptic loan sheets for 2016-2019 (as available). [.80]. Telecon
                                fm A Hill re Recknagel requests & balance discrepancies. [.30]. Per
                                A Hill prepared summaries of activity in all Recknagel accounts
                                (David, Sheri, Dennis, Karen) for 2016-2019. Color-coded and
                                numbered each related transaction (e.g., capital contribution with
                                related loan). Noted Jan 2017 contribution of $402,900 w/ no
                                corresponding loan. Detailed email & attachments of account
                                analysis sent to A Hill with explanatory comments [3.40].
01/16/20          0.70   J Hart [Accounting/Auditing] Email to M Pringle-Panoptic requesting source
                                of investor Recknagel #186270 contribution in Jan 2017. Reply rec'd
                                fm J Lambert-Panoptic with attachments; reviewed same. Email to
                                J Lambert re issue is source of $402,900, not use of funds. Received
                                additional emails fm Lambert including Regions Bank register for
                                Jan 2017 showing Recknagel deposit. Revised Recknagel account
                                analysis and sent it with explanatory email to A Hill [.70].
01/21/20          1.30   J Hart [Accounting/Auditing] Reply to email fm M Pringle (Panoptic) re Dec
                                2019 bank statements & fee accruals. [.20] Started Dec 2019 SFAR
                                pending receipt Panoptic Dec 2019 accounting package. [1.10]
01/22/20          0.80   J Hart [Accounting/Auditing] Email fm A Hill w Draft of Receiver's 2nd
                                Quarterly Status Report to Court. Review & detailed reply re changes.
                                [.60] Telecon w AH, BL and J Hart re Status Report, 13 min [.20].
01/23/20          0.30   J Hart [Accounting/Auditing] Emails w M Pringle re status of Dec 2019
                                accounting. Receipt 2019 accounting from Panoptic [.30].
01/24/20          2.40   J Hart [Accounting/Auditing] Complete Draft Dec 2019 SFAR with Dec
                                2019 accounting from Panoptic [.80]. Revise financial information in


                                                                                              Page 3
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                                     Lightfoot Group, LLC
                             1862 Independence Sq., Suite B
                                 Atlanta, Georgia 30338
                              Telephone No.: 678-320-0079
Professional Time Summary - Receivership: SEC v. Joseph A. Meyer, Jr. CVN: 1:18-cv-05868

 Date         Hours       Prof'l                              Description

                                 Receiver's 2nd Quarterly status report. Sent detailed email to A Hill
                                 & B Leonard re disclosure preferences re Arjun & Statim capital
                                 balances (to avoid double counting on net basis) [1.40]. Email fm B
                                 Leonard re query for numbers of claims, revisions for Dec 2019 SFAR.
                                 Revised & re-sent 2019 SFAR to B Leonard with claim support [.20].
01/26/20          0.20    J Hart [Accounting/Auditing] Reformatted Oct - Dec 2019 SFARs as PDFs;
                                 sent to B Leonard [.20].
01/31/20          0.20    J Hart [Accounting/Auditing] Email fm A Hill re K-1 investor request &
                                 request for Nov & Dec 2019 investor statements. Emails with A Hill
                                 & Matt Pringle re requests. Initial reply from M Pringle [.20].

                 12.50             January 2020 - Accounting/Auditing, Total Hours, James Hart
                 12.50             January 2020 - Total Hours, James Hart
              $3,437.50            January 2020 - Accounting/Auditing, Total Billed, James Hart
              $3,437.50            January 2020 - Total Billed, James Hart


                 12.50             Total Hours, Accounting/Auditing, James Hart
                 12.50             Total Hours, James Hart
              $3,437.50            Total Billing, Accounting/Auditing, James Hart
              $3,437.50            Total Billing, James Hart




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                                   Lightfoot Group, LLC
                             1862 Independence Sq., Suite B
                                 Atlanta, Georgia 30338
                              Telephone No.: 678-320-0079
Professional Time Summary - Receivership: SEC v. Joseph A. Meyer, Jr. CVN: 1:18-cv-05868

 Date         Hours      Prof'l                             Description

02/01/20          0.20   J Hart [Accounting/Auditing] Emails from M Pringle-Panoptic with investor
                                statements for Nov and Dec 2019 [.20].
02/10/20          0.30   J Hart [Accounting/Auditing] Email from A Hill re investor J McCarthy
                                query-$200K loan, with attachments. Telecon A Hill re same [.30].
02/11/20          0.20   J Hart [Accounting/Auditing] Review J McCarthy account history per
                                request of A Hill including docs & emails pertaining to Joe Meyer
                                & Panoptic correspondence & docs/statements [1.20].
02/11/20          2.80   J Hart [Accounting/Auditing] Begin preparing analyses-summaries of
                                activity in various J McCarthy accounts for period 2007 to 2019,
                                as available. Prepared draft analyses of No Class and Class A
                                accounts. Start explanatory footnotes. [2.80].
02/11/20          2.40   J Hart [Accounting/Auditing] Prepared draft analyses of J McCarthy Class
                                B and Loan Account activity. Cross reference with No Class and
                                Class A accounts. Prepare footnotes for all draft analyses [2.40].
02/12/20          0.20   J Hart [Accounting/Auditing] Emails to A Hill & B Leonard re docs needed
                                for Terri Roberts analysis [.20].
02/13/20          0.50   J Hart [Accounting/Auditing] Emails with A Hill: docs for McCarthy loan to
                                Statim & Statim repayment of loan [.20]. Email fm A Hill re has
                                thumb drive of Opus (3rd Parthy Administrator) documents. To
                                Taylor English, pick up thumb drive [.30].
02/13/20          0.80   J Hart [Accounting/Auditing] Email fm A Hill with additional McCarthy
                                docs including $90K loan to Statim & repayment. Revisit J McCarthy
                                draft analysis re new docs provided by A Hill: added new activity,
                                activity between accounts. Prepare footnotes for add'l activity [.80].
02/13/20          0.20   J Hart [Accounting/Auditing] Receipt email fm A Hill: Jan 2020 paid bank
                                account activity & new broker account at Janney Montgomery. Email
                                inform to M Pringle at Panoptic [.20].
02/14/20          3.30   J Hart [Accounting/Auditing] Per A Hill, started account analysis of T
                                Roberts, investor since inception. Reviewed AFA account statements
                                & documents, Opus statements, accounting, spreadsheets, Panoptic
                                statements & spreadsheets of activity. Began capturing activity in IRA,
                                non-IRA, and loan accounts for IRA & non-IRA accounts. Track
                                account activty beginning in July 2010. Begin cross-referencing
                                deposits/contributions & withdrawals between accounts [3.30].
02/15/20          3.10   J Hart [Accounting/Auditing] Continue T Roberts analysis of accounts:
                                completed capturing all account and inter-account activity from


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                                     Lightfoot Group, LLC
                             1862 Independence Sq., Suite B
                                 Atlanta, Georgia 30338
                              Telephone No.: 678-320-0079
Professional Time Summary - Receivership: SEC v. Joseph A. Meyer, Jr. CVN: 1:18-cv-05868

 Date         Hours       Prof'l                              Description

                                 available information. Prepare explanatory footnotes for activity
                                 and activity between accounts. Complete draft of T Roberts account
                                 analysis. Format schedules for sharing with A Hill & investor
                                 Roberts (via A Hill). Reformat McCarthy account analysis to match
                                 T Roberts analysis in format to use with future analyses [3.10].
02/17/20          1.70    J Hart [Accounting/Auditing] Further revisions to analyses of J McCarthy
                                 & T Roberts - added clarification in footnotes re available and
                                 unavailable documents at time of preparation of analyses. Prepared
                                 & sent emails to A Hill with detailed explanation & overall summary
                                 of each investor's activity & current balances [1.70].

                 15.70             February 2020 - Accounting/Auditing, Total Hours, James Hart
                 15.70             February 2020 - Total Hours, James Hart
              $4,317.50            February 2020 - Accounting/Auditing, Total Billed, James Hart
              $4,317.50            February 2020 - Total Billed, James Hart


                 15.70             Total Hours, Accounting/Auditing, James Hart
                 15.70             Total Hours, James Hart
              $4,317.50            Total Billing, Accounting/Auditing, James Hart
              $4,317.50            Total Billing, James Hart




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                                   Lightfoot Group, LLC
                             1862 Independence Sq., Suite B
                                 Atlanta, Georgia 30338
                              Telephone No.: 678-320-0079
Professional Time Summary - Receivership: SEC v. Joseph A. Meyer, Jr. CVN: 1:18-cv-05868

 Date         Hours      Prof'l                             Description

03/03/20          0.80   J Hart [Accounting/Auditing] Emails w/ A Hill re claims form; receipt &
                                review of same [.20]. Telecon fm A Hill re Claims process (26 min.)
                                [.50]. Receipt email fm A Hill re draft list of investors to receive
                                claims forms & request to check for other possibles in Opus
                                documents [.10].
03/03/20          2.40   J Hart [Accounting/Auditing] Review Opus acct statements, spreadsheets,
                                other docs reviewing for potentially missing names to add to claims
                                letter recipient list. Compared names to A Hill two lists - Historic
                                & Current investors. Created summary of potential additional account
                                holders (same investors, but additional accounts) for possible adding
                                to distribution list [2.10]. Transmittal to A Hill re explanation of
                                findings & attached summary. Sent example copies of Opus
                                account statements [.30].
03/04/20          0.20   J Hart [Accounting/Auditing] Telecon fm A Hill re claims process &
                                pending drafts of claims form transmittal letters (14 min.) [.20].
03/05/20          0.80   J Hart [Accounting/Auditing] Email fm A Hill: 3 draft claims form
                                transmittal letters for different categories of investors. Reviewed &
                                commented on each letter. Sent email with additional discussion of
                                issues within each letter behond comments/edits in each letter [.80].
03/05/20          2.40   J Hart [Accounting/Auditing] Email fm A Hill requesting update of early
                                termination fees/redemption penalties during 2016 time gap
                                between AFA and Panoptic & newly received Opus info. Reviewed
                                Opus docs for possible additional penalty amounts. Updated previous
                                draft schedule for additional information found [2.40].
03/05/20          3.30   J Hart [Accounting/Auditing] Created numbered PDF exhibits (25 PDfs) for
                                each Redemption penalty amt. on Redemption Penalty Summary from
                                AFA, Opus and Panoptic sources. Explained updated Summary &
                                PDF exhibits in email to A Hill & B Leonard [3.30].
03/06/20          0.70   J Hart [Accounting/Auditing] Telecon fm A Hill re claims letters: edits &
                                changes [.20]. Telecon fm A Hill re: Redemption fees & penalties &
                                revised Summary & footnote explanation of net numbers shown in
                                PDFs of Panoptic spreadsheets (i.e., some penalty amts only appear
                                in cell formulas) [.30]. Email fm A Hill receipt of additional docs
                                from advisor for investor Terri Roberts - initial review [.20].
03/06/20          2.80   J Hart [Accounting/Auditing] Prepare Jan 2020 SFAR with update for new
                                accounts at Janney Montgomery and splitting out Janney interest &


                                                                                              Page 7
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                                   Lightfoot Group, LLC
                             1862 Independence Sq., Suite B
                                 Atlanta, Georgia 30338
                              Telephone No.: 678-320-0079
Professional Time Summary - Receivership: SEC v. Joseph A. Meyer, Jr. CVN: 1:18-cv-05868

 Date         Hours      Prof'l                             Description

                                balance figures from overall Panoptic month-end report [2.80].
03/09/20          3.00   J Hart [Accounting/Auditing] Recd email fm A Hill request to review &
                                comment on revised claim forms & transmittal letters; done [.30].
                                Per request of A Hill: detail review of recently received documents
                                (attachments) from advisor for investor Terri Roberts. Noted
                                2013 $180-$181K Roberts contribution not showing in 2013 AFA
                                statements, also unidentified $9K deposit in AFA docs [2.70].
03/09/20          0.70   J Hart [Accounting/Auditing] Detailed email to A Hill, B Leonard: Roberts
                                draft analysis results & request for Arjun & possibly Statim investor
                                documents to help resolve pending items noted [.70].
03/10/20          0.20   J Hart [Accounting/Auditing] Reply to A Hill email re total capital accounts
                                less loans [.20].
03/18/20          2.70   J Hart [Accounting/Auditing] Request of A Hill to re-review the AFA
                                website for possible additional investors to be added to the Claims
                                process based on newly identified AFA account "views" discovered
                                by A Hill. (Using "shoreline" menu option in combination with clicks
                                on early year/months (2007-2009) reveals previously unseen investor
                                statements in later years, 2010-2016). Reviewed AFA website for
                                add'l view combinations using: shoreline, fidelity, loans, escrow,
                                schwab, pershing, lighthouse, td, gardwood, IB & bank views.
                                Compared investor names to Historic & Active lists. Possible
                                additional investors: Lynne & Timothy Carmack - Jun 2014 statement.
                                Per request from A Hill, re-reviewed add'l AFA website account
                                info for investors Terri Roberts & James McCarthy. Found two
                                additional accounts for Roberts; none for McCarthy [2.70].
03/19/20          0.80   J Hart [Accounting/Auditing] Telecon A Hill re conf call with Rubio CPA
                                re year-end items (17 min.) [.30]. Conf call with Rubio CPA & A
                                Hill (29 min) [.50].
03/19/20          2.20   J Hart [Accounting/Auditing] Using newly located account statements for
                                investor T Roberts, add add'l information to previous draft analysis
                                and update prior pending items (i.e., 2013 contributions & 2016 loan
                                repayment). Add schedules & revise footnotes [2.20].
03/19/20          0.60   J Hart [Accounting/Auditing] Rec'd & replied to email fm M Rubio re year-
                                end query items & specific steps requested [.40]. Per request of A
                                Hill: email Panoptic re Prepaid legal (McGuire Woods) & Prepaid
                                PR firm involved. Rec'd replies from J Lambert at Panoptic [.20].


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                                     Lightfoot Group, LLC
                             1862 Independence Sq., Suite B
                                 Atlanta, Georgia 30338
                              Telephone No.: 678-320-0079
Professional Time Summary - Receivership: SEC v. Joseph A. Meyer, Jr. CVN: 1:18-cv-05868

 Date         Hours       Prof'l                              Description

03/22/20          0.20    J Hart [Accounting/Auditing] Reply email fm Matt Pringle request for
                                 Feb 2020 docs. Email B Leonard re investor docs needed [.20].


                 23.80             March 2020 - Accounting/Auditing, Total Hours, James Hart
                 23.80             March 2020 - Total Hours, James Hart
              $6,545.00            March 2020 - Accounting/Auditing, Total Billed, James Hart
              $6,545.00            March 2020 - Total Billed, James Hart


                 23.80             Total Hours, Accounting/Auditing, James Hart
                 23.80             Total Hours, James Hart
              $6,545.00            Total Billing, Accounting/Auditing, James Hart
              $6,545.00            Total Billing, James Hart




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                EXHIBIT C




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          STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS & ARJUN, LP- Cash Basis
                           Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                   Reporting Period 1/01/2020 to 1/31/2020
(Balances Subject to Audit)

FUND ACCOUNTING                                                                                                3/6/2020
                                                                                  Detail       Subtotal       Grand Total
Line 1            Beginning Balance (As of 12/31/2019): (Schedule 1.1)        $27,883,179.07
                  Increases in Fund Balance:
Line 2            Business Income
Line 3            Cash and Securities                                              $4,093.11
Line 4            Interest/Dividend Income                                         $1,631.55
Line 5            Business Asset Liquidation
Line 6            Personal Asset Liquidation
Line 7            Third-Party Litigation Income
Line 8            Miscellaneous-Other                                            $28,317.33
                  Total Fund Available (Lines 1-8):                                            $34,041.99    $27,917,221.06
                  Decreases in Fund Balance:
Line 9            Disbursements (Loans) to Investors

Line 10       Disbursements for Receivership Operations
   Line 10a   Disbursements to Receiver or Other Professionals (Sched 10.1)
   Line 10b   Business Asset Expenses                                            -$67,401.17
   Line 10c   Personal Asset Expenses
   Line 10d   Investment Expenses                                                $12,679.88
   Line 10e   Third-Party Litigation Expenses
                  1. Attorney Fees
                  2. Litigation Expenses
                Total Third-Party Litigation Expenses
     Line 10f Tax Administrator Fees and Bonds
     Line 10g Federal and State Tax Payments
                Total Disbursements for Receivership Operations                                -$54,721.29
Line 11    Disbursements for Distribution Expenses Paid by the Fund:
   Line 11a Distribution Plan Development Expenses:
              1. Fees:
                   Fund Administrator
                   Consultants
                   Legal Advisors
                  Tax Advisors
              2. Administrative Expenses
              3. Miscellaneous
             Total Plan Development Expenses
   Line 11b Distribution Plan Implementation Expenses:
              1. Fees:
                  Fund Administrator
             2. Administrative Expenses
             3. Investor Identification:
                  Notice/Publishing Approved Plan
                  Claims Processing
             4. Fund Administrator Bond
             5. Miscellaneous
            Total Plan Implementation Expenses
            Total Disbursement for Distribution Expenses Paid by the Fund
Line 12    Disbursements to Court/Other:
   Line 12a Investment Expenses/Court Registry Investment
           System (CRIS) Fees
   Line 12b Federal Tax Payments
            Total Disbursements to Court/Other:
            Total Funds Disbursed (Line 9-11):                                                                  -$54,721.29
Line 13    Ending Balance (As of 1/31/2010):                                                                 $27,862,499.77
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          STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS & ARJUN, LP- Cash Basis
                           Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                   Reporting Period 1/01/2020 to 1/31/2020
(Balances Subject to Audit)


                                                                                  Detail       Subtotal     Grand Total
Line 14     Ending Balance of Fund - Net Assets:
   Line 14a   Cash & Cash Investments                                                                       $6,566,965.55
   Line 14b   Investments                                                                                  $19,488,306.12
   Line 14c   Other Assets or Uncleared Funds                                                               $1,807,228.10
             Total Ending Balance of Fund - Net Assets                                                     $27,862,499.77

OTHER SUPPLEMENTAL INFORMATION:
                                                                                  Detail       Subtotal     Grand Total
                  Report of Items NOT to be Paid by the Fund:
Line 15     Disbursements for Plan Administration Expenses Not Paid by Fund:
   Line 15a    Plan Development Expenses Not Paid by the Fund:
               1. Fees:
                    Fund Administrator
                    Consultants
                    Legal Advisors
               2. Administrative Expenses
               3. Miscellaneous
             Total Plan Development Expenses Not Paid by the Fund
    Line 15b        Plan Implementation Expenses Not Paid by the Fund:
                      1. Fees:
                           Fund Administrator
                           Consultants
                           Legal Advisors
                      2. Administrative Expenses
                      3. Investor Indentification:
                          Notice/Publishing Approved Plan
                          Claims Processing
                     4. Fund Administrator Bond
                     5. Miscellaneous
                    Total Plan Implementation Expenses Not Paid by the Fund
    Line 15c        Tax Administrator Fees & Bonds Not Paid by the Fund
                    Total Disbursements for Plan Administration Not Paid by the Fund
Line 16     Disbursements to Court/Other Not Paid by the Fund:
   Line 16a    Investment Expenses/CRIS Fees
   Line 16b    Federal Tax Payments
             Total Disbursements to Court/Other Not Paid by the Fund:
Line 17           DC & State Tax Payments
Line 18     No. of Claims:
   Line 18a   # of Claims Received This Reporting Period                                                         pending
   Line 18b   # of Claims Received Since Inception of (Receivership)
Line 19     No. of Claimants/Investors:
   Line 19a   # of Claimants/Investors Paid This Reporting Period
   Line 19b   # of Claimants/Investors Paid Since Inception (Receivership)
                                                                             Receiver:
                                                                             By: _____________________________
                                                                                    (signature)
                                                                                 ____________________________
                                                                                   (printed name)

                                                                             Date: ___________________________

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                                            SCHEDULE 1.1

STANDARDIZED FUND ACCTG REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                        Reporting Period 1/01/2020 to 1/31/2020

                           DETAIL OF LINE 1, BEGINNING BALANCE

      Entity           Bank /Brokerage Name          Account Number          As of Date     Balance

Arjun, LP         TreasuryDirect-Treasuries       Arjun #H-448-199-007       12/31/19      $7,638,485.34
Arjun, LP         Treasury Direct-Accr Interest   Arjun #H-448-199-007       12/31/19            $166.01

Arjun, LP         Loans to Investors                             multiple    12/31/19      $9,333,580.60

Arjun, LP         BMO Harris (CD)                            6900598944      12/31/19      $1,250,000.00
Arjun, LP         BMO Harris                                 4824436117      12/31/19              $0.00
Arjun, LP         BMO Harris [1]                             4824436117      12/31/19         $12,690.55

Arjun, LP         Citizens Trust                              470078581      12/31/19      $6,141,806.76

Arjun, LP         First IC Bank                                     0981     12/31/19       $516,906.97
Arjun, LP         First IC Bank (CD's)                              1879     12/31/19       $100,000.00
Arjun, LP         First IC Bank (CD's)                              1882     12/31/19       $100,000.00

                                                                    Arjun, LP Subtotal    $25,093,636.23

Statim Holdings   Delta Community                   0880083132-Bus Savings   12/31/19              $5.00
Statim Holdings   Delta Community                  0880083132-5760731        12/31/19          $1,131.42
Statim Holdings   Delta Community                  0880083132-1789412        12/31/19            $100.00
Statim Holdings   Delta Community                 0880083132-Bus Mon Mkt     12/31/19      $1,022,785.02

Statim Holdings   Arjun Capital Acct                              186590     12/31/19      $1,585,521.40

Statim Holdings   Nija Meyer                      Loan to Nija Meyer         12/31/19       $180,000.00

                                                             Statim Holdings Subtotal      $2,789,542.84

                                                                 Arjun & Statim Total     $27,883,179.07
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                                                           SCHEDULE 3.1

              STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                              Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                      Reporting Period 1/01/2020 to 1/31/2020

                                            DETAIL OF LINE 3, CASH & SECURITIES

 Date         Bank Name        Account Name Account No.       Ref.        Payor/Payee                Purpose                  Amount

Jan 2020   TreasuryDirect      Arjun, LP   #H-448-199-007 Market    Arjun, LP            Change in accrued unrealized            $5,349.48
Jan 2020   Janney Montgomery   Arjun, LP       4170-7125 Deposit    Janney MontgomeryDeposit funds in new brokerage acct     $2,500,000.00
01/23/20   Citizens Trust      Arjun, LP       470078581 Withdrawal Janney MontgomeryTransfer funds to new brokerage acct   -$2,500,000.00
Jan 2020   Janney Montgomery   Arjun, LP       4170-7125 Change     Arjun, LP             Change in market value of account     -$2,083.61
Jan 2020   Janney Montgomery   Arjun, LP       4170-7125 Accrual    Arjun, LP                  Jan 2020 accrued interest           $827.24

                                                                                                Arjun, LP Subtotal              $4,093.11

                                                                                             Statim Holding Subtotal                $0.00

                                                                                               Arjun & Statim Total             $4,093.11
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                                                       SCHEDULE 4.1

              STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                              Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                      Reporting Period 1/01/2020 to 1/31/2020

                                    DETAIL OF LINE 4, INTEREST/DIVIDEND INCOME

 Date           Bank Name        Account Name Account No.    Ref.      Payor/Payee              Purpose            Amount

01/27/20   First IC Bank        Arjun, LP            0981 Deposit Arjun, LP          Interest                       $234.58
01/27/20   First IC Bank        Arjun, LP            0981 Deposit Arjun, LP          Interest                       $242.82
01/31/20   First IC Bank        Arjun, LP            0981 Deposit Arjun, LP          Interest                       $764.11

                                                                                           Arjun, LP Subtotal      $1,241.51

01/31/20   Delta Community      Statim Holdings 0880083132 Deposit Statim Holdings   Interest                        $390.04
                                                                                        Statim Holdings Subtotal

                                                                                          Arjun & Statim Total     $1,631.55
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                                                         SCHEDULE 8.1

              STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                              Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                      Reporting Period 1/01/2020 to 1/31/2020

                                       DETAIL OF LINE 8, MISCELLANEOUS-OTHER

 Date           Bank Name        Account Name Account No.    Ref.       Payor/Payee           Purpose                 Amount

01/31/20   TreasuryDirect       Arjun, LP     #H-448-199-007 Interest Arjun, LP          Change in accrued interest   $10,951.28
01/31/20   Multiple (CD's)      Arjun, LP     multiple      Interest Arjun, LP        Change in CD accrued interest   $17,366.05
                                                                                         Arjun, LP Subtotal           $28,317.33

                                                                                           Statim Subtotal                 $0.00

                                                                                        Arjun & Statim Total          $28,317.33
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                                              SCHEDULE 9.1

       STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                       Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                               Reporting Period 1/01/2020 to 1/31/2020

                     DETAIL OF LINE 9, DISBURSEMENTS (LOANS) TO INVESTORS

Date    Bank Name   Account NameAccount No.    Ref.     Payor/Payee         Purpose    Amount
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                                                     SCHEDULE 10b.1

           STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                           Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                   Reporting Period 1/01/2020 to 1/31/2020

                            DETAIL OF LINE 10b, BUSINESS ASSET AND OPERATING EXPENSES

 Date           Bank Name        Account NameAccount No.    Ref.         Payor/Payee                  Purpose            Amount

01/02/20   Citizens Trust        Arjun, LP    470078581 Ck 995017 Rubio CPA                      Accounting Fees           -$910.00
01/14/20   Citizens Trust        Arjun, LP    470078581 Ck 995018 Lightfoot Group, LLC           Accounting Fees         -$7,040.00
01/15/20   Citizens Trust        Arjun, LP    470078581 Ck 995019 Taylor English Duma, LLP         Legal Fees           -$59,416.17

                                                                                                  Arjun, LP Total       -$67,366.17

01/13/20   Delta Community Bank Statim Holdings
                                         0880083132-5760731:
                                                        Fee         Delta Community Bank           Overdraft fees           -$35.00

                                                                                             Statim Holdings Total          -$35.00

                                                                                             Arjun, LP & Statim Total   -$67,401.17
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                                                         SCHEDULE 10d.1

              STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                              Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                      Reporting Period 1/01/2020 to 1/31/2020

                                     DETAIL OF LINE 10d, INVESTMENT EXPENSES

 Date           Bank Name       Account Name Account No.       Ref.       Payor/Payee                Purpose              Amount

Jan 2020   Arjun, LP            Arjun, LP      Multiple     Interest   Arjun, LP        Accrual-Investor loan interest    $12,147.07

Jan 2020   Arjun, LP            Arjun, LP      Multiple     Loan PmtsArjun, LP          Investor Loan Payments                 $0.00
                                                                                              Arjun, LP Subtotal          $12,147.07


Jan 2020   Statim Holdings      Statim Holdings 186590       Monthly Arjun, LP          Chg Statim Capital in Arjun, LP     $532.81
                                                                                           Statim Holdings Subtotal         $532.81

                                                                                             Arjun & Statim Total         $12,679.88
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                                           SCHEDULE 13.1

STANDARDIZED FUND ACCTG REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                        Reporting Period 1/01/2020 to 1/31/2020

                               DETAIL OF LINE 13, ENDING BALANCE

      Entity           Bank /Brokerage Name            Account Number        As of Date     Balance

Arjun, LP         TreasuryDirect-Treasuries          Arjun #H-448-199-007    01/31/20      $7,643,834.82
Arjun, LP         Treasury Direct-Accr Interest      Arjun #H-448-199-007    01/31/20         $11,117.29

Arjun, LP         Janney Montgomery Scott                      4170-7125     1/31/2020     $2,498,743.63

Arjun, LP         Accrued Interest - CDs                          multiple   01/31/20         $17,366.05
Arjun, LP         Loans to Investors                              multiple   01/31/20      $9,345,727.67

Arjun, LP         BMO Harris (CD)                             6900598944     01/31/20      $1,250,000.00
Arjun, LP         BMO Harris                                  4824436117     01/31/20              $0.00
Arjun, LP         BMO Harris [1]                              4824436117     01/31/20         $12,690.55

Arjun, LP         Citizens Trust                               470078581     01/31/20      $3,574,440.59

Arjun, LP         First IC Bank                                      0981    01/31/20       $518,148.48
Arjun, LP         First IC Bank (CD's)                               1879    01/31/20       $100,000.00
Arjun, LP         First IC Bank (CD's)                               1882    01/31/20       $100,000.00

                                                                    Arjun, LP Subtotal    $25,072,069.08

Statim Holdings   Delta Community                  0880083132-Bus Savings    01/31/20              $5.00
Statim Holdings   Delta Community                     0880083132-5760731     01/31/20          $1,096.42
Statim Holdings   Delta Community                     0880083132-1789412     01/31/20            $100.00
Statim Holdings   Delta Community                 0880083132-Bus Mon Mkt     01/31/20      $1,023,175.06

Statim Holdings   Arjun Capital Acct                              186590     01/31/20      $1,586,054.21

Statim Holdings   Nija Meyer                        Loan to Nija Meyer       01/31/20       $180,000.00

                                                              Statim Holdings Subtotal     $2,790,430.69

                                                                  Arjun & Statim Total    $27,862,499.77
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                                           SCHEDULE 13.1.1

   STANDARDIZED FUND ACCOUNT REPORT-STATIM HOLDINGS/ARJUN, LP- Cash Basis
                Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                        Reporting Period 1/01/2020 to 1/31/2020

         DETAIL OF LINE 13, RECONCILIATION OF BEGINNING/ENDING BALANCES


  Date     Reference         Payee/Payor                        Purpose                     Amount

Treasury Direct, Arjun, LP, Account Number H-448-199-00 (net of Janney Montgomery):
 12/31/19                                                           Beginning Balance $7,638,485.34
 01/31/20 Statement Arjun, LP                  Reverse: Dec 2019 accrued unrealized         -$13,764.54
                                              Add: Jan 2020 accrued unrealized (net Janney)  $19,114.02
 01/31/20                                                               Ending Balance $7,643,834.82

Treasury Direct, Arjun, LP, Account Number H-448-199-00 (net of Janney Montgomery):
  12/31/19                                                        Beginning Balance            $166.01
 Jan 2020 Statement Arjun, LP                     Net change accr interest - Jan 2020       $10,951.28
  01/31/20                                                           Ending Balance         $11,117.29

Janney Montgomery Scott, LLC, Account Number 4170-7125:
  12/31/19                                                     Beginning Balance          $0.00
 Jan 2020          Janney Montgomery       Deposit funds in new brokerage account $2,500,000.00
 Jan 2020          Arjun, LP                    Change in market value of account    -$2,083.61
 Jan 2020          Arjun, LP                             Jan 2020 accrued interest      $827.24
  01/31/20                                                        Ending Balance $2,498,743.63

Arjun, LP - CD Interest, Multiple Accounts:
 12/31/19                                                             Beginning Balance           $0.00
Dec 2019 Ledger                                          Initial Record Dec 2019 interest    $14,552.69
Jan 2020 Ledger                                       Reverse: Dec 2019 accrued interest    -$14,552.69
Jan 2020 Ledger      Arjun, LP                         Record: Jan 2020 accrued interest     $17,366.05
 01/31/20                                                                Ending Balance      $17,366.05

Arjun, LP - Investor Loans, Multiple Account Numbers:
 12/31/19                                                          Beginning Balance $9,333,580.60
Jan 2020 Loan Stmt Arjun, LP                   Loan payments by investors (see banks)        $0.00
Jan 2020 Loan Stmt Arjun, LP                                        Loans to Investors       $0.00
Jan 2020 Loan Stmt Arjun, LP                  Accrued Interest Income (not collections) $12,147.07
 01/31/20 Loan Stmt                                                   Ending Balance $9,345,727.67

BMO Harris, Arjun, LP, Account Number 4824436117:
 12/31/19                                                             Beginning Balance          $0.00
 01/31/20   Fee     BMO Harris             Bank Fee                                              $0.00
 01/31/20                                                                 Ending Balance         $0.00

Citizens Trust, Arjun, LP, Account Number 470078581:
 12/31/19                                                           Beginning Balance $6,141,806.76
 01/02/20 Ck 995017 Rubio CPA                                         Accounting Fees        -$910.00
 01/14/20 Ck 995018 Lightfoot Group, LLC                              Accounting Fees      -$7,040.00
 01/15/20 Ck 995019 Taylor English Duma, LLP                                Legal Fees    -$59,416.17
 01/23/20 Debit       Janney Montgomery                      Move funds to new account -$2,500,000.00
 01/31/20                                                              Ending Balance $3,574,440.59
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                                          SCHEDULE 13.1.1

   STANDARDIZED FUND ACCOUNT REPORT-STATIM HOLDINGS/ARJUN, LP- Cash Basis
                Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                        Reporting Period 1/01/2020 to 1/31/2020

         DETAIL OF LINE 13, RECONCILIATION OF BEGINNING/ENDING BALANCES


  Date    Reference         Payee/Payor                      Purpose                    Amount

First IC Bank, Arjun, LP, Account Number: 0981:
 12/31/19                                                         Beginning Balance     $516,906.97
 01/27/20 Interest    First IC Bank          Interest                                       $234.58
 01/27/20 Interest    First IC Bank          Interest                                       $242.82
 01/31/20 Interest    First IC Bank          Interest                                       $764.11
 01/31/20                                                              Ending Balance   $518,148.48

Delta Community, Statim Holdings, Account Number: 0880083132-Business Money Market:
 12/31/19                                                      Beginning Balance $1,022,785.02
 01/31/20 Interest  Delta Community         Interest                                   $390.04
 01/31/20                                                         Ending Balance $1,023,175.06

Delta Community, Statim Holdings, Account Number: 0880083132-5760731:
 12/31/19                                                      Beginning Balance          $1,131.42
 01/13/20 Fee       Delta Community Bank                            Overdraft fees          -$35.00
 01/31/20                                                         Ending Balance          $1,096.42
Delta Community, Statim Holdings, Account Number: 0880083132 (Business Savings):
 12/31/19                                                      Beginning Balance              $5.00
 01/31/20                                                              No Change              $0.00
 01/31/20                                                         Ending Balance              $5.00

Delta Community, Statim Holdings, Account Number: 0880083132 (Value Checking):
 12/31/19                                                      Beginning Balance           $100.00
Jan 2020                                                              No Change              $0.00
 01/31/20                                                         Ending Balance           $100.00

Arjun, LP, Statim Holdings Capital Account, Account Number: 186590:
 12/31/19                                                           Beginning Balance $1,585,521.40
Jan 2020 Allocation Arjun, LP                 Performance Allocation                           0.00
Jan 2020 Net Income Arjun, LP                 Allocation of Monthly Net Income             $532.81
 01/31/20                                                             Ending Balance $1,586,054.21
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          STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS & ARJUN, LP- Cash Basis
                           Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                   Reporting Period 2/01/2020 to 2/29/2020
(Balances Subject to Audit)

FUND ACCOUNTING                                                                                               4/8/2020
                                                                                  Detail       Subtotal      Grand Total
Line 1            Beginning Balance (As of 1/31/2020): (Schedule 1.1)         $27,862,499.77
                  Increases in Fund Balance:
Line 2            Business Income
Line 3            Cash and Securities                                            $14,526.29
Line 4            Interest/Dividend Income                                        $2,038.06
Line 5            Business Asset Liquidation
Line 6            Personal Asset Liquidation
Line 7            Third-Party Litigation Income
Line 8            Miscellaneous-Other                                            $15,387.87
                  Total Fund Available (Lines 1-8):                                            $31,952.22   $27,894,451.99
                  Decreases in Fund Balance:
Line 9            Disbursements (Loans) to Investors

Line 10       Disbursements for Receivership Operations
   Line 10a   Disbursements to Receiver or Other Professionals (Sched 10.1)
   Line 10b   Business Asset Expenses                                              -$560.00
   Line 10c   Personal Asset Expenses
   Line 10d   Investment Expenses                                                $17,364.28
   Line 10e   Third-Party Litigation Expenses
                  1. Attorney Fees
                  2. Litigation Expenses
                Total Third-Party Litigation Expenses
     Line 10f Tax Administrator Fees and Bonds
     Line 10g Federal and State Tax Payments
                Total Disbursements for Receivership Operations                                $16,804.28
Line 11    Disbursements for Distribution Expenses Paid by the Fund:
   Line 11a Distribution Plan Development Expenses:
              1. Fees:
                   Fund Administrator
                   Consultants
                   Legal Advisors
                  Tax Advisors
              2. Administrative Expenses
              3. Miscellaneous
             Total Plan Development Expenses
   Line 11b Distribution Plan Implementation Expenses:
              1. Fees:
                  Fund Administrator
             2. Administrative Expenses
             3. Investor Identification:
                  Notice/Publishing Approved Plan
                  Claims Processing
             4. Fund Administrator Bond
             5. Miscellaneous
            Total Plan Implementation Expenses
            Total Disbursement for Distribution Expenses Paid by the Fund
Line 12    Disbursements to Court/Other:
   Line 12a Investment Expenses/Court Registry Investment
           System (CRIS) Fees
   Line 12b Federal Tax Payments
            Total Disbursements to Court/Other:
            Total Funds Disbursed (Line 9-11):                                                                  $16,804.28
Line 13    Ending Balance (As of 2/29/2010):                                                                $27,911,256.27
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          STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS & ARJUN, LP- Cash Basis
                           Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                   Reporting Period 2/01/2020 to 2/29/2020
(Balances Subject to Audit)


                                                                                  Detail       Subtotal     Grand Total
Line 14     Ending Balance of Fund - Net Assets:
   Line 14a   Cash & Cash Investments                                                                       $4,769,491.71
   Line 14b   Investments                                                                                  $21,313,954.58
   Line 14c   Other Assets or Uncleared Funds                                                               $1,827,809.98
             Total Ending Balance of Fund - Net Assets                                                     $27,911,256.27

OTHER SUPPLEMENTAL INFORMATION:
                                                                                  Detail       Subtotal     Grand Total
                  Report of Items NOT to be Paid by the Fund:
Line 15     Disbursements for Plan Administration Expenses Not Paid by Fund:
   Line 15a    Plan Development Expenses Not Paid by the Fund:
               1. Fees:
                    Fund Administrator
                    Consultants
                    Legal Advisors
               2. Administrative Expenses
               3. Miscellaneous
             Total Plan Development Expenses Not Paid by the Fund
    Line 15b        Plan Implementation Expenses Not Paid by the Fund:
                      1. Fees:
                           Fund Administrator
                           Consultants
                           Legal Advisors
                      2. Administrative Expenses
                      3. Investor Indentification:
                          Notice/Publishing Approved Plan
                          Claims Processing
                     4. Fund Administrator Bond
                     5. Miscellaneous
                    Total Plan Implementation Expenses Not Paid by the Fund
    Line 15c        Tax Administrator Fees & Bonds Not Paid by the Fund
                    Total Disbursements for Plan Administration Not Paid by the Fund
Line 16     Disbursements to Court/Other Not Paid by the Fund:
   Line 16a    Investment Expenses/CRIS Fees
   Line 16b    Federal Tax Payments
             Total Disbursements to Court/Other Not Paid by the Fund:
Line 17           DC & State Tax Payments
Line 18     No. of Claims:
   Line 18a   # of Claims Received This Reporting Period                                                         pending
   Line 18b   # of Claims Received Since Inception of (Receivership)
Line 19     No. of Claimants/Investors:
   Line 19a   # of Claimants/Investors Paid This Reporting Period
   Line 19b   # of Claimants/Investors Paid Since Inception (Receivership)
                                                                             Receiver:
                                                                             By: _____________________________
                                                                                    (signature)
                                                                                 ____________________________
                                                                                   (printed name)

                                                                             Date: ___________________________

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                                            SCHEDULE 1.1

STANDARDIZED FUND ACCTG REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                        Reporting Period 2/01/2020 to 2/29/2020

                           DETAIL OF LINE 1, BEGINNING BALANCE

      Entity           Bank /Brokerage Name          Account Number          As of Date     Balance

Arjun, LP         TreasuryDirect-Treasuries       Arjun #H-448-199-007       01/31/20      $7,643,834.82
Arjun, LP         Treasury Direct-Accr Interest   Arjun #H-448-199-007       01/31/20         $11,117.29

Arjun, LP         Janney Montgomery Scott                     4170-7125      01/31/20      2,498,743.63

Arjun, LP         Accrued Interest - CDs                         multiple    01/31/20         17,366.05
Arjun, LP         Loans to Investors                             multiple    01/31/20      9,345,727.67

Arjun, LP         BMO Harris (CD)                            6900598944      01/31/20      1,250,000.00
Arjun, LP         BMO Harris                                 4824436117      01/31/20               -
Arjun, LP         BMO Harris [1]                             4824436117      01/31/20         12,690.55


Arjun, LP         Citizens Trust                              470078581      01/31/20      3,574,440.59

Arjun, LP         First IC Bank                                     0981     01/31/20        518,148.48
Arjun, LP         First IC Bank (CD's)                              1879     01/31/20        100,000.00
Arjun, LP         First IC Bank (CD's)                              1882     01/31/20        100,000.00

                                                                    Arjun, LP Subtotal    $25,072,069.08

Statim Holdings   Delta Community                   0880083132-Bus Savings   01/31/20              5.00
Statim Holdings   Delta Community                  0880083132-5760731        01/31/20          1,096.42
Statim Holdings   Delta Community                  0880083132-1789412        01/31/20            100.00
Statim Holdings   Delta Community                 0880083132-Bus Mon Mkt     01/31/20      1,023,175.06

Statim Holdings   Arjun Capital Acct                              186590     01/31/20      1,586,054.21

Statim Holdings   Nija Meyer                      Loan to Nija Meyer         01/31/20        180,000.00

                                                             Statim Holdings Subtotal      $2,790,430.69

                                                                 Arjun & Statim Total     $27,862,499.77
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                                                               SCHEDULE 3.1

                STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                                Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                        Reporting Period 2/01/2020 to 2/29/2020

                                                DETAIL OF LINE 3, CASH & SECURITIES

 Date           Bank Name       Account Name Account No.            Ref.        Payor/Payee                   Purpose                   Amount


Feb 2020   Janney Montgomery        Arjun, LP      4170-7125    Deposit    Janney Montgomery Deposit funds in brokerage acct           $2,500,000.00
02/14/20   Citizens Trust           Arjun, LP      470078581    Withdrawal Janney Montgomery Transfer funds to brokerage acct         -$2,500,000.00
Feb 2020   Janney Montgomery        Arjun, LP      4170-7125    Deposit    Janney Montgomery Increase in cash Janney                     $451,726.33
Feb 2020   Janney Montgomery        Arjun, LP      4170-7125    Deposit    Janney Montgomery Change in cash Janney                      -$451,726.33
Feb 2020   Treasury Direct, Janney Arjun, LP     #H-448-199-007 Change     Treasury Direct, JanneyChange in market value of account       $14,526.29

                                                                                                        Arjun, LP Subtotal               $14,526.29

                                                                                                      Statim Holding Subtotal                 $0.00

                                                                                                       Arjun & Statim Total              $14,526.29
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                                                       SCHEDULE 4.1

             STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                             Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                     Reporting Period 2/01/2020 to 2/29/2020

                                    DETAIL OF LINE 4, INTEREST/DIVIDEND INCOME

 Date          Bank Name         Account Name Account No.    Ref.        Payor/Payee              Purpose            Amount

02/26/20   First IC Bank        Arjun, LP            0981   Deposit   Arjun, LP        Interest                        $234.60
02/26/20   First IC Bank        Arjun, LP            0981   Deposit   Arjun, LP        Interest                        $242.84
02/28/20   First IC Bank        Arjun, LP            0981   Deposit   Arjun, LP        Interest                        $691.74
Feb 2020   Janney Montgomery    Arjun, LP       4170-7125   Deposit   Arjun, LP        Interest                        $503.87
                                                                                              Arjun, LP Subtotal     $1,673.05

02/29/20   Delta Community      Statim Holdings 0880083132 Deposit Statim Holdings     Interest                        $365.01
                                                                                          Statim Holdings Subtotal

                                                                                           Arjun & Statim Total      $2,038.06
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                                                    SCHEDULE 8.1

            STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                            Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                    Reporting Period 2/01/2020 to 2/29/2020

                                     DETAIL OF LINE 8, MISCELLANEOUS-OTHER

 Date          Bank Name         Account Name Account No.    Ref.    Payor/Payee           Purpose                 Amount

Feb 2020 TreasuryDirect, Janney Arjun, LP     #H-448-199-007MarketArjun, LP           Change in accrued interest   $11,184.27
Feb 2020 Multiple (CD's)        Arjun, LP     multiple   Interest Arjun, LP        Change in CD accrued interest    $2,541.10
Feb 2020 Janney Montgomery-CDs Arjun, LP       4170-7125 Interest Arjun, LP        Change in CD accrued interest    $1,662.50
                                                                                      Arjun, LP Subtotal           $15,387.87

                                                                                        Statim Subtotal                 $0.00

                                                                                     Arjun & Statim Total          $15,387.87
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                                              SCHEDULE 9.1

       STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                       Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                               Reporting Period 2/01/2020 to 2/29/2020

                     DETAIL OF LINE 9, DISBURSEMENTS (LOANS) TO INVESTORS

Date    Bank Name   Account NameAccount No.    Ref.     Payor/Payee         Purpose    Amount
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                                                    SCHEDULE 10b.1

           STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                           Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                   Reporting Period 2/01/2020 to 2/29/2020

                            DETAIL OF LINE 10b, BUSINESS ASSET AND OPERATING EXPENSES

 Date           Bank Name        Account NameAccount No.   Ref.      Payor/Payee            Purpose           Amount

02/21/20   Citizens Trust        Arjun, LP    470078581 Online PmtRubio CPA            Accounting Fees         -$560.00

                                                                                        Arjun, LP Total        -$560.00

                                                                                   Statim Holdings Total         $0.00

                                                                                   Arjun, LP & Statim Total    -$560.00
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                                                       SCHEDULE 10d.1

            STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                            Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                    Reporting Period 2/01/2020 to 2/29/2020

                                    DETAIL OF LINE 10d, INVESTMENT EXPENSES

 Date          Bank Name      Account Name Account No.       Ref.       Payor/Payee              Purpose                Amount

Feb 2020 Arjun, LP            Arjun, LP      Multiple     Interest   Arjun, LP        Accrual-Investor loan interest    $12,170.27

Feb 2020 Arjun, LP            Arjun, LP      Multiple     Loan PmtsArjun, LP          Investor Loan Payments                 $0.00
                                                                                            Arjun, LP Subtotal          $12,170.27


Feb 2020 Statim Holdings      Statim Holdings 186590       Monthly Arjun, LP          Chg Statim Capital in Arjun, LP    $5,194.01
                                                                                        Statim Holdings Subtotal         $5,194.01

                                                                                           Arjun & Statim Total         $17,364.28
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                                               SCHEDULE 13.1

STANDARDIZED FUND ACCTG REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                        Reporting Period 2/01/2020 to 2/29/2020

                                   DETAIL OF LINE 13, ENDING BALANCE

     Entity             Bank /Brokerage Name                 Account Number          As of Date     Balance

Arjun, LP         TreasuryDirect-Securities                   Arjun #H-448-199-007   02/29/20      (combined)
Arjun, LP         Janney Montgomery-Securities                        4170-7125      02/29/20     $11,956,056.64

Arjun, LP         Treasury Direct, Janney-Accr Interest                See above      02/29/20       $22,301.56

Arjun, LP         Janney Montgomery Scott - Cash                      4170-7125      2/29/2020      $701,551.97

Arjun, LP         Accrued Interest - CDs                               multiple      02/29/20         $19,907.15
Arjun, LP         Accrued Interest - CDs                     Janney Montgomery       02/29/20          $1,662.50
Arjun, LP         Loans to Investors                                   multiple      02/29/20      $9,357,897.94

Arjun, LP         BMO Harris (CD)                                    6900598944      02/29/20      $1,250,000.00
Arjun, LP         BMO Harris                                         4824436117      02/29/20              $0.00
Arjun, LP         BMO Harris [1]                                     4824436117      02/29/20         12,690.55

Arjun, LP         Citizens Trust                                      470078581      02/29/20      $1,073,880.59

Arjun, LP         First IC Bank                                             0981     02/29/20       $519,317.66
Arjun, LP         First IC Bank (CD's)                                      1879     02/29/20       $100,000.00
Arjun, LP         First IC Bank (CD's)                                      1882     02/29/20       $100,000.00

                                                                            Arjun, LP Subtotal    $25,115,266.56

Statim Holdings   Delta Community                           0880083132-Bus Savings   02/29/20              $5.00
Statim Holdings   Delta Community                          0880083132-5760731        02/29/20          $1,096.42
Statim Holdings   Delta Community                          0880083132-1789412        02/29/20            $100.00
Statim Holdings   Delta Community                         0880083132-Bus Mon Mkt     02/29/20      $1,023,540.07

Statim Holdings Arjun Capital Acct                                        186590     02/29/20      $1,591,248.22

Statim Holdings Nija Meyer                                Loan to Nija Meyer         02/29/20       $180,000.00

                                                                     Statim Holdings Subtotal      $2,795,989.71

                                                                         Arjun & Statim Total     $27,911,256.27
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                                           SCHEDULE 13.1.1

   STANDARDIZED FUND ACCOUNT REPORT-STATIM HOLDINGS/ARJUN, LP- Cash Basis
                Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                        Reporting Period 2/01/2020 to 2/29/2020

         DETAIL OF LINE 13, RECONCILIATION OF BEGINNING/ENDING BALANCES


  Date      Reference        Payee/Payor                        Purpose                     Amount

Brokerage Accounts - Securities Balances (Treasury Direct, Janney Montgomery)
 01/31/20                                                 Combined Beginning Balance $9,892,752.81
Feb 2020 Statement Janney Montgomery                 Deposit funds in brokerage account $2,500,000.00
Feb 2020 Ledger Arjun, LP                                      Increase in cash (Janney) -$451,726.33
 02/29/20 Ledger Arjun, LP                        Reverse: Jan 2020 accrued unrealized     -$18,436.57
 02/29/20 Ledger Arjun, LP                Add: Feb 2020 accrued unrealized (net Janney)     $32,962.86
Feb 2020 Statement Janney Montgomery                             Net income - February         $503.87
 02/29/20                                                                Ending Balance $11,956,056.64

Brokerage Accounts - Accrued Interest (Treasury Direct, Janey Montgomery)
 01/31/20                                                          Beginning Balance         $11,117.29
Feb 2020 Ledger                                     Reverse: Jan 2020 accrued interest      -$11,117.29
Feb 2020 Ledger                                         Add: Feb 2020 accrued interest       $22,301.56
 02/29/20                                                             Ending Balance         $22,301.56

Janney Montgomery Scott, LLC, Account Number 4170-7125 (Cash & Money Mkt):
  01/31/20                                                     Beginning Balance            $249,825.64
 Feb 2020 Statement Janney Montgomery               Increase in cash during month           $451,726.33
  02/29/20                                                        Ending Balance            $701,551.97

Arjun, LP - CD Interest, Multiple Accounts:
 01/31/20                                                            Beginning Balance       $17,366.05
Feb 2020 Ledger Arjun, LP                             Reverse: Jan 2020 accrued interest    -$17,366.05
Feb 2020 Ledger Arjun, LP                             Record: Feb 2020 accrued interest      $19,907.15
 02/29/20                                                               Ending Balance       $19,907.15

Arjun, LP - CD Interest, Janney Montgomery:
 01/31/20                                                             Beginning Balance           $0.00
Jan 2020    Ledger Arjun, LP                             Initial Record Jan 2020 interest        $64.94
Feb 2020 Ledger Arjun, LP                             Reverse: Jan 2020 accrued interest        -$64.94
Feb 2020 Ledger Arjun, LP                             Record: Feb 2020 accrued interest       $1,662.50
 02/29/20                                                                Ending Balance       $1,662.50

Arjun, LP - Investor Loans, Multiple Account Numbers:
 01/31/20                                                          Beginning Balance $9,345,727.67
Feb 2020 Loan Stmt Arjun, LP                   Loan payments by investors (see banks)        $0.00
Feb 2020 Loan Stmt Arjun, LP                                        Loans to Investors       $0.00
Feb 2020 Loan Stmt Arjun, LP                  Accrued Interest Income (not collections) $12,170.27
 02/29/20 Loan Stmt                                                   Ending Balance $9,357,897.94

BMO Harris, Arjun, LP, Account Number 4824436117:
                                                                     Beginning Balance            $0.00
 02/29/20     Fee       BMO Harris             Bank Fee                                           $0.00
 02/29/20                                                                 Ending Balance          $0.00
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                                          SCHEDULE 13.1.1

   STANDARDIZED FUND ACCOUNT REPORT-STATIM HOLDINGS/ARJUN, LP- Cash Basis
                Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                        Reporting Period 2/01/2020 to 2/29/2020

         DETAIL OF LINE 13, RECONCILIATION OF BEGINNING/ENDING BALANCES


  Date    Reference         Payee/Payor                       Purpose                    Amount

Citizens Trust, Arjun, LP, Account Number 470078581:
 01/31/20                                                          Beginning Balance $3,574,440.59
 02/21/20 Online Pmt Rubio CPA                                       Accounting Fees        -$560.00
 02/14/20 Debit       Janney Montgomery                     Move funds to new account -$2,500,000.00
 02/29/20                                                             Ending Balance $1,073,880.59

First IC Bank, Arjun, LP, Account Number: 0981:
 01/31/20                                                          Beginning Balance     $518,148.48
 02/26/20 Interest    First IC Bank          Interest                                        $234.60
 02/26/20 Interest    First IC Bank          Interest                                        $242.84
 02/28/20 Interest    First IC Bank          Interest                                        $691.74
 02/29/20                                                               Ending Balance   $519,317.66

Delta Community, Statim Holdings, Account Number: 0880083132-Business Money Market:
 01/31/20                                                      Beginning Balance $1,023,175.06
 02/29/20 Interest  Delta Community         Interest                                   $365.01
 02/29/20                                                         Ending Balance $1,023,540.07

Delta Community, Statim Holdings, Account Number: 0880083132-5760731:
 01/31/20                                                      Beginning Balance           $1,096.42
Feb 2020 Statement Delta Community Bank                            Overdraft fees              $0.00
 02/29/20                                                         Ending Balance           $1,096.42

Delta Community, Statim Holdings, Account Number: 0880083132 (Business Savings):
 01/31/20                                                      Beginning Balance               $5.00
 02/29/20                                                              No Change               $0.00
 02/29/20                                                         Ending Balance               $5.00

Delta Community, Statim Holdings, Account Number: 0880083132 (Value Checking):
 01/31/20                                                      Beginning Balance            $100.00
Feb 2020                                                              No Change               $0.00
 02/29/20                                                         Ending Balance            $100.00

Arjun, LP, Statim Holdings Capital Account, Account Number: 186590:
 01/31/20                                                           Beginning Balance $1,586,054.21
Feb 2020 Allocation Arjun, LP                 Performance Allocation                      $3,617.17
Feb 2020 Net Income Arjun, LP                 Allocation of Monthly Net Income            $1,576.84
 02/29/20                                                             Ending Balance $1,591,248.22
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          STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS & ARJUN, LP- Cash Basis
                           Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                   Reporting Period 3/01/2020 to 3/31/2020
(Balances Subject to Audit)

FUND ACCOUNTING                                                                                                4/17/2020
                                                                                  Detail       Subtotal       Grand Total
Line 1            Beginning Balance (As of 2/29/2020): (Schedule 1.1)         $27,911,256.27
                  Increases in Fund Balance:
Line 2            Business Income
Line 3            Cash and Securities                                            $24,492.47
Line 4            Interest/Dividend Income                                        $4,875.41
Line 5            Business Asset Liquidation
Line 6            Personal Asset Liquidation
Line 7            Third-Party Litigation Income
Line 8            Miscellaneous-Other                                            $13,149.11
                  Total Fund Available (Lines 1-8):                                            $42,516.99    $27,953,773.26
                  Decreases in Fund Balance:
Line 9            Disbursements (Loans) to Investors

Line 10       Disbursements for Receivership Operations
   Line 10a   Disbursements to Receiver or Other Professionals (Sched 10.1)
   Line 10b   Business Asset Expenses                                            -$73,178.25
   Line 10c   Personal Asset Expenses
   Line 10d   Investment Expenses                                                $24,919.53
   Line 10e   Third-Party Litigation Expenses
                  1. Attorney Fees
                  2. Litigation Expenses
                Total Third-Party Litigation Expenses
     Line 10f Tax Administrator Fees and Bonds
     Line 10g Federal and State Tax Payments
                Total Disbursements for Receivership Operations                                -$48,258.72
Line 11    Disbursements for Distribution Expenses Paid by the Fund:
   Line 11a Distribution Plan Development Expenses:
              1. Fees:
                   Fund Administrator
                   Consultants
                   Legal Advisors
                  Tax Advisors
              2. Administrative Expenses
              3. Miscellaneous
             Total Plan Development Expenses
   Line 11b Distribution Plan Implementation Expenses:
              1. Fees:
                  Fund Administrator
             2. Administrative Expenses
             3. Investor Identification:
                  Notice/Publishing Approved Plan
                  Claims Processing
             4. Fund Administrator Bond
             5. Miscellaneous
            Total Plan Implementation Expenses
            Total Disbursement for Distribution Expenses Paid by the Fund
Line 12    Disbursements to Court/Other:
   Line 12a Investment Expenses/Court Registry Investment
           System (CRIS) Fees
   Line 12b Federal Tax Payments
            Total Disbursements to Court/Other:
            Total Funds Disbursed (Line 9-11):                                                                  -$48,258.72
Line 13    Ending Balance (As of 3/31/2010):                                                                 $27,905,514.54
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          STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS & ARJUN, LP- Cash Basis
                           Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                   Reporting Period 3/01/2020 to 3/31/2020
(Balances Subject to Audit)


                                                                                  Detail       Subtotal     Grand Total
Line 14     Ending Balance of Fund - Net Assets:
   Line 14a   Cash & Cash Investments                                                                       $6,301,256.90
   Line 14b   Investments                                                                                  $19,750,572.55
   Line 14c   Other Assets or Uncleared Funds                                                               $1,853,685.09
             Total Ending Balance of Fund - Net Assets                                                     $27,905,514.54

OTHER SUPPLEMENTAL INFORMATION:
                                                                                  Detail       Subtotal     Grand Total
                  Report of Items NOT to be Paid by the Fund:
Line 15     Disbursements for Plan Administration Expenses Not Paid by Fund:
   Line 15a    Plan Development Expenses Not Paid by the Fund:
               1. Fees:
                    Fund Administrator
                    Consultants
                    Legal Advisors
               2. Administrative Expenses
               3. Miscellaneous
             Total Plan Development Expenses Not Paid by the Fund
    Line 15b        Plan Implementation Expenses Not Paid by the Fund:
                      1. Fees:
                           Fund Administrator
                           Consultants
                           Legal Advisors
                      2. Administrative Expenses
                      3. Investor Indentification:
                          Notice/Publishing Approved Plan
                          Claims Processing
                     4. Fund Administrator Bond
                     5. Miscellaneous
                    Total Plan Implementation Expenses Not Paid by the Fund
    Line 15c        Tax Administrator Fees & Bonds Not Paid by the Fund
                    Total Disbursements for Plan Administration Not Paid by the Fund
Line 16     Disbursements to Court/Other Not Paid by the Fund:
   Line 16a    Investment Expenses/CRIS Fees
   Line 16b    Federal Tax Payments
             Total Disbursements to Court/Other Not Paid by the Fund:
Line 17           DC & State Tax Payments
Line 18     No. of Claims:
   Line 18a   # of Claims Received This Reporting Period                                                         pending
   Line 18b   # of Claims Received Since Inception of (Receivership)
Line 19     No. of Claimants/Investors:
   Line 19a   # of Claimants/Investors Paid This Reporting Period
   Line 19b   # of Claimants/Investors Paid Since Inception (Receivership)
                                                                             Receiver:
                                                                             By: _____________________________
                                                                                    (signature)
                                                                                 ____________________________
                                                                                   (printed name)

                                                                             Date: ___________________________

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                                                 SCHEDULE 1.1

STANDARDIZED FUND ACCTG REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                        Reporting Period 3/01/2020 to 3/31/2020

                                   DETAIL OF LINE 1, BEGINNING BALANCE

    Entity               Bank /Brokerage Name                Account Number          As of Date       Balance

Arjun, LP         TreasuryDirect-Securities               Arjun #H-448-199-007       02/29/20     (combined)
Arjun, LP         Janney Montgomery-Securities                       4170-7125       02/29/20       $11,956,056.64

Arjun, LP         Treasury Direct, Janney-Accr Interest                See above     02/29/20          $22,301.56

Arjun, LP         Janney Montgomery Scott - Cash                      4170-7125      2/29/2020        $701,551.97

Arjun, LP         Accrued Interest - CDs                               multiple      02/29/20           $19,907.15
Arjun, LP         Accrued Interest - CDs                     Janney Montgomery       02/29/20            $1,662.50
Arjun, LP         Loans to Investors                                   multiple      02/29/20        $9,357,897.94

Arjun, LP         BMO Harris (CD)                                    6900598944      02/29/20        $1,250,000.00
Arjun, LP         BMO Harris                                         4824436117      02/29/20                $0.00
Arjun, LP         BMO Harris [1]                                     4824436117      02/29/20           $12,690.55

Arjun, LP         Citizens Trust                                      470078581      02/29/20        $1,073,880.59

Arjun, LP         First IC Bank                                             0981     02/29/20         $519,317.66
Arjun, LP         First IC Bank (CD's)                                      1879     02/29/20         $100,000.00
Arjun, LP         First IC Bank (CD's)                                      1882     02/29/20         $100,000.00

                                                                            Arjun, LP Subtotal      $25,115,266.56

Statim Holdings   Delta Community                           0880083132-Bus Savings   02/29/20                $5.00
Statim Holdings   Delta Community                          0880083132-5760731        02/29/20            $1,096.42
Statim Holdings   Delta Community                          0880083132-1789412        02/29/20              $100.00
Statim Holdings   Delta Community                         0880083132-Bus Mon Mkt     02/29/20        $1,023,540.07

Statim Holdings Arjun Capital Acct                                        186590     02/29/20        $1,591,248.22

Statim Holdings Nija Meyer                                Loan to Nija Meyer         02/29/20         $180,000.00

                                                                     Statim Holdings Subtotal        $2,795,989.71

                                                                         Arjun & Statim Total       $27,911,256.27
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                                                           SCHEDULE 3.1

                STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                                Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                        Reporting Period 3/01/2020 to 3/31/2020

                                              DETAIL OF LINE 3, CASH & SECURITIES

  Date          Bank Name      Account Name Account No.        Ref.       Payor/Payee                    Purpose                      Amount


Mar 2020 Janney Montgomery        Arjun, LP      4170-7125 Deposit    Janney Montgomery Increase in cash Janney                      $1,603,843.12
Mar 2020 Janney Montgomery        Arjun, LP      4170-7125 Deposit    Janney Montgomery Change in cash Janney                       -$1,603,843.12
Mar 2020 Treasury Direct, Janney Arjun, LP    #H-448-199-007 Change   Treasury Direct, Janney   Change in market value of account       $24,492.47

                                                                                                   Arjun, LP Subtotal                  $24,492.47

                                                                                                Statim Holding Subtotal                     $0.00

                                                                                                 Arjun & Statim Total                  $24,492.47
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                                                       SCHEDULE 4.1

             STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                             Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                     Reporting Period 3/01/2020 to 3/31/2020

                                    DETAIL OF LINE 4, INTEREST/DIVIDEND INCOME

  Date         Bank Name         Account Name Account No.    Ref.      Payor/Payee              Purpose            Amount

03/26/20 First IC Bank          Arjun, LP            0981 Deposit Arjun, LP          Interest                        $227.15
03/31/30 First IC Bank          Arjun, LP            0981 Deposit Arjun, LP          Interest                        $482.85
Mar 2020 Janney Montgomery      Arjun, LP       4170-7125 Deposit Arjun, LP          Interest                      $3,775.09
                                                                                            Arjun, LP Subtotal     $4,485.09

03/31/20   Delta Community      Statim Holdings 0880083132 Deposit Statim Holdings   Interest                        $390.32
                                                                                        Statim Holdings Subtotal

                                                                                         Arjun & Statim Total      $4,875.41
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                                                     SCHEDULE 8.1

              STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                              Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                      Reporting Period 3/01/2020 to 3/31/2020

                                       DETAIL OF LINE 8, MISCELLANEOUS-OTHER

  Date         Bank Name         Account Name Account No.   Ref.     Payor/Payee           Purpose                 Amount

Mar 2020 TreasuryDirect, Janney Arjun, LP     #H-448-199-007
                                                         Market Arjun, LP             Change in accrued interest   $10,011.77
Mar 2020 Multiple (CD's)        Arjun, LP     multiple    Interest Arjun, LP       Change in CD accrued interest    $2,576.89
Mar 2020 Janney Montgomery-CDsArjun, LP        4170-7125 Interest Arjun, LP        Change in CD accrued interest      $560.45
                                                                                      Arjun, LP Subtotal           $13,149.11

                                                                                        Statim Subtotal                 $0.00

                                                                                     Arjun & Statim Total          $13,149.11
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                                              SCHEDULE 9.1

       STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                       Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                               Reporting Period 3/01/2020 to 3/31/2020

                     DETAIL OF LINE 9, DISBURSEMENTS (LOANS) TO INVESTORS

Date    Bank Name   Account NameAccount No.    Ref.     Payor/Payee         Purpose    Amount
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                                                       SCHEDULE 10b.1

           STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                           Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                   Reporting Period 3/01/2020 to 3/31/2020

                            DETAIL OF LINE 10b, BUSINESS ASSET AND OPERATING EXPENSES

 Date        Bank Name       Account NameAccount No.     Ref.         Payor/Payee                 Purpose            Amount

03/10/20   Citizens Trust    Arjun, LP    470078581   995021 Lightfoot Group, LLC                 Accounting Fees -$24,410.00
03/10/20   Citizens Trust    Arjun, LP    470078581   995022 Taylor English Duma, LLP                 Legal Fees -$41,976.44
03/11/20   Citizens Trust    Arjun, LP    470078581 Online PmtPanoptic Fund Administration           Admin Fees     -$6,791.81

                                                                                              Arjun, LP Total       -$73,178.25

                                                                                         Statim Holdings Total           $0.00

                                                                                         Arjun, LP & Statim Total   -$73,178.25
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                                                       SCHEDULE 10d.1

             STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                             Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                     Reporting Period 3/01/2020 to 3/31/2020

                                   DETAIL OF LINE 10d, INVESTMENT EXPENSES

  Date         Bank Name      Account Name Account No.       Ref.       Payor/Payee                Purpose              Amount

Mar 2020 Arjun, LP            Arjun, LP      Multiple     Interest   Arjun, LP        Accrual-Investor loan interest    $12,193.53

Mar 2020 Arjun, LP            Arjun, LP      Multiple     Loan PmtsArjun, LP          Investor Loan Payments                 $0.00
                                                                                            Arjun, LP Subtotal          $12,193.53


Mar 2020 Statim Holdings      Statim Holdings 186590       Monthly Arjun, LP          Chg Statim Capital in Arjun, LP   $12,726.00
                                                                                         Statim Holdings Subtotal       $12,726.00

                                                                                           Arjun & Statim Total         $24,919.53
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                                           SCHEDULE 13.1

STANDARDIZED FUND ACCTG REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                        Reporting Period 3/01/2020 to 3/31/2020

                               DETAIL OF LINE 13, ENDING BALANCE

      Entity           Bank /Brokerage Name               Account Number       As of Date     Balance

Arjun, LP         TreasuryDirect-Securities          Arjun #H-448-199-007      03/31/20      (combined)
Arjun, LP         Janney Montgomery-Securities                  4170-7125      03/31/20     $10,380,481.08

Arjun, LP         Treasury Direct, Janney-Accr Interest            See above    03/31/20       $32,313.33

Arjun, LP         Janney Montgomery Scott - Cash                  4170-7125    3/31/2020     $2,305,395.09

Arjun, LP         Accrued Interest - CDs                            multiple   03/31/20         $22,484.04
Arjun, LP         Accrued Interest - CDs                  Janney Montgomery    03/31/20          $2,222.95
Arjun, LP         Loans to Investors                                multiple   03/31/20      $9,370,091.47

Arjun, LP         BMO Harris (CD)                               6900598944     03/31/20      $1,250,000.00
Arjun, LP         BMO Harris                                    4824436117     03/31/20              $0.00
Arjun, LP         BMO Harris [1]                                4824436117     03/31/20         12,690.55

Arjun, LP         Citizens Trust                                  470078581    03/31/20      $1,000,702.34

Arjun, LP         First IC Bank                                        0981    03/31/20       $520,027.66
Arjun, LP         First IC Bank (CD's)                                 1879    03/31/20       $100,000.00
Arjun, LP         First IC Bank (CD's)                                 1882    03/31/20       $100,000.00

                                                                       Arjun, LP Subtotal   $25,096,408.51

Statim Holdings   Delta Community                     0880083132-Bus Savings   03/31/20              $5.00
Statim Holdings   Delta Community                     0880083132-5760731       03/31/20          $1,096.42
Statim Holdings   Delta Community                     0880083132-1789412       03/31/20            $100.00
Statim Holdings   Delta Community                    0880083132-Bus Mon Mkt    03/31/20      $1,023,930.39

Statim Holdings   Arjun Capital Acct                                 186590    03/31/20      $1,603,974.22

Statim Holdings   Nija Meyer                        Loan to Nija Meyer         03/31/20       $180,000.00

                                                                Statim Holdings Subtotal     $2,809,106.03

                                                                    Arjun & Statim Total    $27,905,514.54
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                                           SCHEDULE 13.1.1

   STANDARDIZED FUND ACCOUNT REPORT-STATIM HOLDINGS/ARJUN, LP- Cash Basis
                Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                        Reporting Period 3/01/2020 to 3/31/2020

         DETAIL OF LINE 13, RECONCILIATION OF BEGINNING/ENDING BALANCES


  Date      Reference        Payee/Payor                         Purpose                     Amount

Brokerage Accounts - Securities Balances (Treasury Direct, Janney Montgomery)
 02/29/20                                                 Combined Beginning Balance $11,956,056.64
Mar 2020 Ledger Arjun, LP                          Increase in cash (Janney; see below) -$1,603,843.12
 02/29/20 Ledger Arjun, LP                        Reverse: Feb 2020 accrued unrealized        -$32,962.86
 02/29/20 Ledger Arjun, LP                      Add: Mar 2020 accrued unrealized (net Janney)  $57,455.33
Mar 2020 Statement Janney Montgomery                                   Net income - Mar         $3,775.09
 03/31/20                                                                 Ending Balance $10,380,481.08

Brokerage Accounts - Accrued Interest (Treasury Direct, Janey Montgomery)
 02/29/20                                                          Beginning Balance          $22,301.56
Mar 2020 Ledger                                     Reverse: Feb 2020 accrued interest       -$22,301.56
Mar 2020 Ledger                                     Record: Mar 2020 accrued interest         $32,313.33
 03/31/20                                                             Ending Balance          $32,313.33

Janney Montgomery Scott, LLC, Account Number 4170-7125 (Cash & Money Mkt):
 02/29/20                                                          Beginning Balance       $701,551.97
Mar 2020 Statement Janney Montgomery            Increase in cash during month (see above) $1,603,843.12
 03/31/20                                                              Ending Balance $2,305,395.09

Arjun, LP - CD Interest, Multiple Accounts (BMO Harris, First IC):
 02/29/20                                                          Beginning Balance          $19,907.15
Mar 2020 Ledger Arjun, LP                          Reverse: Feb 2020 accrued interest        -$19,907.15
Mar 2020 Ledger Arjun, LP                          Record: Mar 2020 accrued interest          $22,484.04
 03/31/20                                                            Ending Balance           $22,484.04

Arjun, LP - CD Interest, Janney Montgomery:
 01/31/20                                                             Beginning Balance        $1,662.50
Feb 2020 Ledger Arjun, LP                              Reverse: Feb 2020 accrued interest     -$1,662.50
Feb 2020 Ledger Arjun, LP                              Record: Mar 2020 accrued interest       $2,222.95
 03/31/20                                                                Ending Balance        $2,222.95

Arjun, LP - Investor Loans, Multiple Account Numbers:
 01/31/20                                                              Beginning Balance $9,357,897.94
Feb 2020 Loan Stmt Arjun, LP                   Loan payments by investors (see banks)              $0.00
Feb 2020 Loan Stmt Arjun, LP                                           Loans to Investors          $0.00
Feb 2020 Loan Stmt Arjun, LP                        Accrued Interest Income (not collections) $12,193.53
 03/31/20 Loan Stmt                                                      Ending Balance $9,370,091.47

BMO Harris, Arjun, LP, Account Number 4824436117:
                                                                      Beginning Balance            $0.00
Mar 2020      Fee       BMO Harris               Bank Fee                                          $0.00
 03/31/20                                                                  Ending Balance          $0.00
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                                          SCHEDULE 13.1.1

   STANDARDIZED FUND ACCOUNT REPORT-STATIM HOLDINGS/ARJUN, LP- Cash Basis
                Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                        Reporting Period 3/01/2020 to 3/31/2020

         DETAIL OF LINE 13, RECONCILIATION OF BEGINNING/ENDING BALANCES


  Date     Reference        Payee/Payor                      Purpose                    Amount

Citizens Trust, Arjun, LP, Account Number 470078581:
 02/29/20                                                         Beginning Balance $1,073,880.59
 03/10/20     995021 Lightfoot Group, LLC                          Accounting Fees    -$24,410.00
 03/10/20     995022 Taylor English Duma, LLP                            Legal Fees   -$41,976.44
 03/11/20 Online Pmt Panoptic Fund Administration                       Admin Fees     -$6,791.81
 03/31/20                                                           Ending Balance $1,000,702.34
First IC Bank, Arjun, LP, Account Number: 0981:
 02/29/20                                                         Beginning Balance     $519,317.66
 03/26/20 Interest    First IC Bank            Interest                                     $227.15
 03/31/30 Interest    First IC Bank            Interest                                     $482.85
 03/31/20                                                              Ending Balance   $520,027.66

Delta Community, Statim Holdings, Account Number: 0880083132-Business Money Market:
 02/29/20                                                      Beginning Balance $1,023,540.07
 03/31/20 Interest  Delta Community         Interest                                   $390.32
 03/31/20                                                         Ending Balance $1,023,930.39

Delta Community, Statim Holdings, Account Number: 0880083132-5760731:
 02/29/20                                                      Beginning Balance          $1,096.42
          Statement                                                    No Change              $0.00
 03/31/20                                                         Ending Balance          $1,096.42
Delta Community, Statim Holdings, Account Number: 0880083132 (Business Savings):
 02/29/20                                                      Beginning Balance              $5.00
                                                                       No Change              $0.00
 03/31/20                                                         Ending Balance              $5.00

Delta Community, Statim Holdings, Account Number: 0880083132 (Value Checking):
 02/29/20                                                      Beginning Balance           $100.00
Mar 2020                                                              No Change              $0.00
 03/31/20                                                         Ending Balance           $100.00

Arjun, LP, Statim Holdings Capital Account, Account Number: 186590:
 02/29/20                                                           Beginning Balance $1,591,248.22
Mar 2020 Allocation Arjun, LP                 Performance Allocation                     $11,368.39
Mar 2020 Net Income Arjun, LP                 Allocation of Monthly Net Income            $1,357.61
 03/31/20                                                             Ending Balance $1,603,974.22
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             EXHIBIT D
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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

SECURITIES AND EXCHANGE
COMMISSION,

       Plaintiff,

v.                                              Civil Action File No.
                                                1:18-cv-05868-LMM
JOSEPH A. MEYER, JR. and
STATIM HOLDINGS, INC.,

       Defendants.


                                    ORDER

      This matter is before the Court on Receiver Al Hill’s (“Receiver”) Motion to

Allow and Pay Fees and Expenses to the Receiver (Third Interim Application)

(“Motion”).    The Receiver requests payment of attorneys’ fees and expenses

incurred in his duties as Receiver during the period January 1, 2020, to March 31,

2020. No other party filed a response to the Motion, and it is deemed unopposed.

N.D. Ga. LR 7.1(B). Having considered the Motion, and that it is unopposed,

      IT IS HEREBY ORDERED that the Receiver’s Motion to Allow and Pay




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Fees and Expenses to the Receiver (Third Interim Application) is GRANTED. The

Receiver is authorized to draw down $88,672.08 from the assets of the receivership.

      SO ORDERED this ___ day of _________________, 2020.



                                             _____________________________
                                             Leigh Martin May
                                             United States District Judge
                                             Northern District of Georgia




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      Case 1:18-cv-05868-LMM Document 110 Filed 04/20/20 Page 86 of 86




                           CERTIFICATE OF SERVICE

      I hereby certify that I have this day electronically filed the foregoing

Receiver’s Motion to Allow and Pay Fees and Expenses to the Receiver (Third

Interim Application) with Brief in Support with the Clerk of the Court using the

CM/ECF system, which will automatically send e-mail notification of such filing to

all attorneys of record.

      This 20th day of April, 2020.

                                            /s/ William G. Leonard
                                            WILLIAM G. LEONARD
                                            bleonard@taylorenglish.com




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